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   Palm House Hotel, LLLP                                                                   Strictly Confidential




                                                                                                         G




                                                                                     	  

   	  


                                Palm House Hotel, LLLP
                                      Private Placement Memorandum
   	  




                                                                           	  

   	  

   NOTE TO PROSPECTIVE SUBSCRIBERS
          By accepting this document you agree to maintain in confidence the information set forth in this
          document, together with any other non-public information regarding the Partnership, obtained from the
          Partnership or its agents, during the course of the proposed offering and to return this document to the
          Partnership in the event that you do not elect to participate in the offering.	  

            	  

            	                              	  




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                              Private Placement Memorandum
     This document serves as a record of my receipt of the Private Placement Memorandum dated
     12/02/2012, for Palm House Hotel, LLLP, a Florida Limited Liability Limited Partnership (the
     “Partnership”). I received a copy of the Private Placement Memorandum, containing an investment
     summary, business summary, accredited investor questionnaire and subscription agreement.

     I understand that this offering has not been registered with the Florida division of securities, the U.S.
     Securities and Exchange Commission (“SEC”) or any other foreign securities agency and is not
     required to be so registered.

     I agree to maintain in confidence the information set forth in this document, together with any other non-
     public information regarding the Partnership, obtained from the Partnership or its agents, during the
     course of the proposed offering and to return this document to the Partnership in the event that I do not
     elect to participate in the offering.



     _________________________________
     Investor Name



     _________________________________
     Investor Signature



     _________________________________
     Date




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                           Private Placement Memorandum Summary
                                     FOR PALM HOUSE HOTEL, LLLP


                                      $39,500,000.00
                       Securities Offered:               79 Limited Partnership Units

                       Unit Price:                       $500,000.00

                       Offering:                         $39,500,000.00

                       Administrative Fee:               $40,000.00


           The Partnership is offering (the “Offering”) to sell limited partner units in the Partnership (“Units”)
   to Investors for $39,500,000. The Minimum Investment is $500,000. The administrative fee is $40,000.

            Neither the Florida division of securities or the U.S. Securities and Exchange Commission, nor
   any other regulatory body, whether U.S. or foreign, has approved or disapproved these Units or passed
   upon the accuracy or adequacy of this Memorandum. Any representation to the contrary is a criminal
   offense.

           This Memorandum does not constitute an offer or solicitation of Units in any jurisdiction in which
   such offer or solicitation is not authorized. No action has been taken to permit the distribution of this
   Memorandum in any jurisdiction other than countries determined by the General Partner. Accordingly, this
   Memorandum may not be used for the purpose of, and does not constitute, an offer or solicitation by
   anyone in any jurisdiction or in any circumstances in which such offer or solicitation is not authorized or to
   any person to whom it is unlawful to make such offer or solicitation.

           Neither the delivery of this Memorandum nor the placing, allotment, or issue, of any Units shall
   under any circumstances create any implication or constitute any representation that the information
   given in this Information Memorandum is correct as of any time subsequent to the date hereof. This
   Memorandum provides a summary of information relevant to investing in the Partnership.

         THESE ARE SPECULATIVE UNITS WHICH INVOLVE A HIGH DEGREE OF RISK. ONLY
   THOSE INVESTORS WHO CAN BEAR THE LOSS OF THEIR ENTIRE INVESTMENT SHOULD INVEST
   IN THESE UNITS.




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   ATTACHMENTS
   Business Plan
   Economic Analysis
   Limited Partnership Agreement
   Loan Documents
   Investor Questionnaire and Subscription Agreement
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   Operations & Marketing Plan



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                                  Palm House Hotel, LLLP

                            Limited Partner Units (“Units”)

   THIS PRIVATE PLACEMENT MEMORANDUM (THIS “MEMORANDUM”) IS PROVIDED ON A
   CONFIDENTIAL BASIS SOLELY FOR THE INFORMATION OF THE RECIPIENT NAMED ABOVE SO
   THAT SUCH RECIPIENT MAY CONSIDER AN INVESTMENT IN THE UNITS OF THE PARTNERSHIP.
   IT IS NOT INTENDED FOR USE BY ANY OTHER PERSON.

   THIS MEMORANDUM MAY NOT BE REPRODUCED OR PROVIDED TO OTHERS WITHOUT THE
   PRIOR WRITTEN PERMISSION OF THE GENERAL PARTNER OF THE PARTNERSHIP. BY
   ACCEPTING DELIVERY OF THIS MEMORANDUM, EACH PROSPECTIVE INVESTOR AGREES TO
   KEEP CONFIDENTIAL ALL OF THE INFORMATION CONTAINED IN THIS MEMORANDUM THAT IS
   NOT ALREADY IN THE PUBLIC DOMAIN AND TO USE THIS MEMORANDUM SOLELY FOR
   PURPOSES OF EVALUATING A POSSIBLE INVESTMENT IN THE PARTNERSHIP. NO
   PROSPECTIVE INVESTOR MAY DISCUSS THE CONTENTS OF THE MEMORANDUM WITH ANY
   PERSON OTHER THAN ITS PROFESSIONAL ADVISERS.

   THIS MEMORANDUM DOES NOT PURPORT TO BE ALL-INCLUSIVE OR TO CONTAIN ALL THE
   INFORMATION THAT A PROSPECTIVE INVESTOR MAY DESIRE IN EVALUATING THE
   PARTNERSHIP. PROSPECTIVE INVESTORS SHOULD NOT CONSTRUE THE CONTENTS OF THIS
   MEMORANDUM AS LEGAL, TAX, INVESTMENT OR OTHER ADVICE. EACH INVESTOR SHOULD
   MAKE ITS OWN INQUIRIES AND CONSULT ITS OWN ADVISERS AS TO THE PARTNERSHIP AND
   THIS OFFERING AND AS TO LEGAL, TAX AND RELATED MATTERS CONCERNING THIS
   INVESTMENT. THE PARTNERSHIP, THE GENERAL PARTNER OR ANY OF THEIR RESPECTIVE
   AFFILIATES IS NOT MAKING ANY REPRESENTATION OR WARRANTY REGARDING THE LEGALITY
   OF AN INVESTMENT IN THE UNITS BY ANY INVESTOR OR ABOUT THE INCOME OR OTHER TAX
   CONSEQUENCES OF SUCH AN INVESTMENT.

   IN MAKING AN INVESTMENT DECISION, INVESTORS MUST RELY ON THEIR OWN EXAMINATION
   OF THE ENTITY CREATING THE UNITS OFFERED AND THE TERMS OF THE OFFERING,
   INCLUDING THE MERITS AND RISKS OF AN INVESTMENT IN THE UNITS. THE UNITS OFFERED
   HEREBY HAVE NOT BEEN RECOMMENDED BY THE U.S. SECURITIES AND EXCHANGE
   COMMISSION, ANY STATE SECURITIES COMMISSION OR ANY OTHER SECURITIES COMMISSION
   OR REGULATORY AUTHORITY OF ANY JURISDICTION IN ANY COUNTRY. FURTHERMORE, THE
   FOREGOING AUTHORITIES HAVE NOT CONFIRMED THE ACCURACY OR DETERMINED THE
   ADEQUACY OF THIS DOCUMENT. ANY REPRESENTATION TO THE CONTRARY IS A CRIMINAL
   OFFENSE.

   THE UNITS OFFERED HEREBY HAVE NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF
   1933, AS AMENDED (THE “ACT”), OR SECURITIES AUTHORITY IN OTHER JURISDICTION AND ARE
   BEING OFFERED AND SOLD IN RELIANCE ON EXEMPTIONS FROM THE REGISTRATION
   REQUIREMENTS OF THE ACT AND SUCH LAWS. THE UNITS OFFERED HEREBY ARE SUBJECT
   TO RESTRICTIONS ON TRANSFERABILITY AND RESALE AND MAY NOT BE TRANSFERRED OR
   RESOLD EXCEPT AS PERMITTED UNDER THE ACT, PURSUANT TO REGISTRATION
   THEREUNDER OR EXEMPTION THEREFROM, AND AS PERMITTED UNDER OTHER APPLICABLE
   SECURITIES LAWS. THE TRANSFERABILITY OF UNITS IS FURTHER RESTRICTED UNDER THE
   PARTNERSHIP’S PARTNERSHIP AGREEMENT (AS MAY BE AMENDED, MODIFIED,
   SUPPLEMENTED OR RESTATED FROM TIME TO TIME, THE “PARTNERSHIP AGREEMENT”).




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   ADDITIONAL CONSIDERATIONS


   AN INVESTOR GENERALLY WILL NOT BE PERMITTED TO RESIGN OR OTHERWISE WITHDRAW,
   IN WHOLE OR IN PART, FROM THE PARTNERSHIP. INVESTORS SHOULD BE AWARE THAT THEY
   WILL BE REQUIRED TO BEAR THE FINANCIAL RISKS OF AN INVESTMENT IN THE UNITS FOR AN
   EXTENDED PERIOD OF TIME.

   INVESTMENT IN THE UNITS WILL INVOLVE RISKS DUE TO, AMONG OTHER THINGS, THE
   NATURE OF THE PARTNERSHIP’S INVESTMENTS AND BUSINESS ACTIVITIES. INVESTORS
   SHOULD HAVE THE FINANCIAL ABILITY, SOPHISTICATION AND WILLINGNESS TO ACCEPT THE
   RISKS AND LACK OF LIQUIDITY, WHICH ARE CHARACTERISTICS OF THE INVESTMENT
   DESCRIBED IN THIS MEMORANDUM.

   CERTAIN INFORMATION CONTAINED IN THIS MEMORANDUM HAS BEEN OBTAINED BY THE
   GENERAL PARTNER FROM SOURCES DEEMED RELIABLE BY THE GENERAL PARTNER.
   HOWEVER, THE GENERAL PARTNER CANNOT GUARANTEE THE ACCURACY OF SUCH
   INFORMATION AND HAS NOT INDEPENDENTLY VERIFIED SUCH INFORMATION.

   SUCH INFORMATION NECESSARILY INCORPORATES SIGNIFICANT ASSUMPTIONS AND
   ESTIMATES AS WELL AS FACTUAL MATTERS. THE GENERAL PARTNER WILL PROVIDE TO EACH
   PROSPECTIVE INVESTOR, OR SUCH PROSPECTIVE INVESTOR’S AGENT, DURING THIS
   OFFERING AND PRIOR TO THE SALE OF ANY UNITS OFFERED HEREBY TO SUCH PROSPECTIVE
   INVESTOR, THE OPPORTUNITY TO ASK QUESTIONS OF THE GENERAL PARTNER CONCERNING
   ANY ASPECT OF THE INVESTMENT AND TO OBTAIN ANY ADDITIONAL INFORMATION, TO THE
   EXTENT THE GENERAL PARTNER POSSESSES SUCH INFORMATION OR CAN ACQUIRE IT
   WITHOUT UNREASONABLE EFFORT OR EXPENSE.

   CERTAIN STATEMENTS MADE THROUGHOUT THIS DOCUMENT THAT ARE NOT HISTORICAL
   FACTS MAY CONTAIN FORWARD-LOOKING STATEMENTS REGARDING THE PARTNERSHIP’S
   FUTURE PLANS, OBJECTIVES AND EXPECTED PERFORMANCE. SUCH FORWARD-LOOKING
   STATEMENTS INCLUDE STATEMENTS THAT USE FORWARD-LOOKING TERMINOLOGY SUCH AS
   “MAY”, “WILL”, “SHOULD”, “EXPECT”, “ANTICIPATE”, “PROJECT”, “ESTIMATE”, “INTEND”,
   “CONTINUE”, OR “BELIEVE”, OR THE NEGATIVES THEREOF, OR OTHER VARIATIONS THEREON,
   OR COMPARABLE TERMINOLOGY.

   FORWARD-LOOKING STATEMENTS ARE BASED ON ASSUMPTIONS THAT THE GENERAL
   PARTNER BELIEVES ARE REASONABLE, BUT ARE SUBJECT TO A WIDE RANGE OF RISKS AND
   UNCERTAINTIES. ACTUAL RESULTS MAY DIFFER FROM THOSE EXPRESSED OR IMPLIED BY
   SUCH FORWARD-LOOKING STATEMENTS.

   INFORMATION RESPECTING PRIOR PERFORMANCE OF OTHER INVESTMENTS IS NOT
   NECESSARILY INDICATIVE OF ACTUAL RESULTS TO BE OBTAINED BY THE PARTNERSHIP.
   NOTHING CONTAINED HEREIN IS, OR SHOULD BE RELIED ON AS, A PROMISE OR
   REPRESENTATION AS TO THE FUTURE PERFORMANCE OF THE PARTNERSHIP.




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   CONSIDERATION CONCLUSION


   THIS MEMORANDUM IS QUALIFIED IN ITS ENTIRETY BY REFERENCE TO THE SUBSCRIPTION
   AGREEMENT RELATED THERETO, THE PARTNERSHIP AGREEMENT AND ALL OTHER RELEVANT
   AGREEMENTS (IF ANY) PERTAINING TO AN INVESTMENT IN, OR THE OPERATION OF, THE
   PARTNERSHIP, IN EACH CASE AS MAY BE AMENDED, MODIFIED, SUPPLEMENTED OR
   RESTATED FROM TIME TO TIME. COPIES OF SUCH DOCUMENTS WILL BE MADE AVAILABLE
   UPON REQUEST AND SHOULD BE REVIEWED PRIOR TO PURCHASING ANY UNIT. NO PERSON
   HAS BEEN AUTHORIZED IN CONNECTION WITH THIS OFFERING TO GIVE ANY INFORMATION
   OTHER THAN AS CONTAINED IN THIS MEMORANDUM. NO REPRESENTATIONS OR WARRANTIES
   ARE MADE AS TO THE ACCURACY OR COMPLETENESS OF THE INFORMATION CONTAINED
   HEREIN.

   STATEMENTS IN THIS MEMORANDUM ARE MADE AS OF 12/02/2012, UNLESS STATED
   OTHERWISE. NEITHER THE DELIVERY OF THIS MEMORANDUM AT ANY TIME NOR ANY SALE
   HEREUNDER SHALL UNDER ANY CIRCUMSTANCES CREATE AN IMPLICATION THAT THE
   INFORMATION CONTAINED HEREIN IS CORRECT AS OF ANY OTHER TIME SUBSEQUENT TO
   SUCH DATE. THE GENERAL PARTNER AND ITS AFFILIATES RESERVE THE RIGHT TO MODIFY
   ANY OF THE TERMS OF THE OFFERING AND THE UNITS DESCRIBED HEREIN.

   THE UNITS ARE OFFERED SUBJECT TO THE RIGHT OF THE GENERAL PARTNER TO REJECT
   ANY SUBSCRIPTION IN WHOLE OR IN PART. IF THE GENERAL PARTNER REJECTS A
   SUBSCRIPTION, THE PROSPECTIVE INVESTOR WILL BE NOTIFIED AS SOON AS PRACTICAL.

   THIS MEMORANDUM DOES NOT CONSTITUTE AN OFFER OR SOLICITATION IN ANY COUNTRY,
   STATE OR OTHER JURISDICTION IN WHICH SUCH AN OFFER OR SOLICITATION IS UNLAWFUL.

   ALL “$” AND “DOLLAR” REFERENCES IN THIS MEMORANDUM ARE TO U.S. DOLLARS.


   *****

   FOR MORE INFORMATION PLEASE CONTACT THE PARTNERSHIP.

   *****

                            Please direct all inquiries regarding the Partnership to:


                                           Palm House Hotel, LLLP

                                      197 S. Federal Highway, Suite 200
                                           Boca Raton, FL 33432
                                         Telephone: (561) 282-6102




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                                         Jurisdictional Notes
   Prospective Investors are not to construe the contents of this document or any prior subsequent
   communications from the Offeror as legal or tax advice. Each Investor must rely on his own representative for
   legal, income tax and related matters concerning this investment.

   This document is Confidential and contains proprietary information. It is intended for the exclusive use of the
   recipient.

   PROJECTIONS MAY BE CONTAINED IN THIS MEMORANDUM AND ANY OTHER PROJECTIONS THAT
   DO NOT CONFORM TO THOSE IN THIS OFFERING DOCUMENT SHOULD BE DISREGARDED.

   EVERY INVESTOR SHOULD BE AWARE THAT THE PARTNERSHIP HAS NO OBLIGATION, NOR DOES
   IT INTEND TO REPURCHASE THE UNITS FROM INVESTORS IN THE EVENT THAT, FOR ANY REASON,
   AN INVESTOR WISHES TO TERMINATE THE INVESTMENT.


                                FOREIGN (NON-USA) JURISDICTION
   THESE UNITS HAVE NOT BEEN REGISTERED, FILED WITH, OR OTHERWISE APPROVED BY ANY
   FOREIGN (NON-USA) REGULATORY AGENCY. ANY REPRESENTATION TO THE CONTRARY IS A
   CRIMINAL OFFENSE.

   A non-US person or entity considering an investment in the Partnership should consult his/her or its own
   tax advisors with respect to the specific tax consequences to such person of such an investment under
   United States federal, state and local income tax laws, and with respect to the treatment of income and
   gain from such investment under the tax laws of any foreign jurisdiction in which such person or entity is
   subject to tax.

   THIS CONFIDENTIAL OFFERING MEMORANDUM DOES NOT SET FORTH COMPLETE
   INFORMATION RELATING TO THE TAX EFFECTS OF AN INVESTMENT IN THE PARTNERSHIP.
   EACH PROSPECTIVE INVESTOR SHOULD CONSULT WITH ITS OWN COUNSEL, ACCOUNTANTS
   OR OTHER ADVISORS AS TO THE US FEDERAL (AS WELL AS STATE AND LOCAL) TAX
   CONSEQUENCES OF ITS INVESTMENT IN THE PARTNERSHIP, WHICH MAY DIFFER
   SUBSTANTIALLY FOR DIFFERENT TYPES OF TAXPAYERS (INDIVIDUALS, CORPORATIONS, ETC.)
   IN PARTICULAR, INVESTMENT IN THE PARTNERSHIP BY ENTITIES SUBJECT TO ERISA AND BY
   OTHER TAX-EXEMPT ENTITIES REQUIRES SPECIAL CONSIDERATION. TRUSTEES OR
   ADMINISTRATORS OF SUCH ENTITIES ARE URGED TO CAREFULLY REVIEW THE MATTERS
   DISCUSSED IN THIS MEMORANDUM.



                               NOTICE TO RESIDENTS OF ALL STATES
   THE UNITS OFFERED HEREBY HAVE NOT BEEN REGISTERED UNDER THE ACT OR THE
   SECURITIES LAWS OF ANY STATE AND ARE BEING OFFERED AND SOLD IN RELIANCE ON
   EXEMPTIONS FROM THE REGISTRATION REQUIREMENTS OF THE ACT AND APPLICABLE STATE
   LAWS. THE UNITS ARE SUBJECT TO RESTRICTIONS ON TRANSFERABILITY AND RESALE AND
   MAY NOT BE TRANSFERRED OR RESOLD EXCEPT AS PERMITTED UNDER THE ACT AND
   APPLICABLE STATE LAWS PURSUANT TO REGISTRATION OR EXEMPTION THEREFROM. THE
   UNITS HAVE NOT BEEN APPROVED OR DISAPPROVED BY THE SEC, ANY STATE SECURITIES
   COMMISSION OR OTHER REGULATORY AUTHORITY, NOR HAVE ANY OF THE FOREGOING
   AUTHORITIES PASSED UPON OR ENDORSED THE MERITS OF THIS OFFERING OR THE
   ACCURACY OR ADEQUACY OF THIS OFFERING MEMORANDUM. ANY REPRESENTATION TO THE
   CONTRARY IS UNLAWFUL.




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          CAUTIONARY STATEMENT REGARDING FORWARD-LOOKING STATEMENTS
   The Memorandum includes “forward-looking statements” within the meaning of Section 27A of the Act
   and Section 21E of the Securities Exchange Act of 1934 which represent our expectations or beliefs
   concerning future events that involve risks and uncertainties, including those associated with our ability to
   obtain financing for our current and future operations. All statements other than statements of historical
   facts included in the Memorandum including, without limitation, the statements under “Business” and
   elsewhere herein, including the Documents incorporated by reference, are forward-looking statements.

   Although we believe that the expectations reflected in such forward-looking statements are reasonable,
   we cannot assure you that such expectations will prove to have been correct. Important factors that could
   cause actual results to differ materially from our expectations (“Cautionary Statements”) are disclosed in
   the Memorandum, including without limitation, in connection with the forward-looking statements included
   in the Memorandum. All subsequent written and oral forward-looking statements attributable to us or
   persons acting on its behalf are expressly qualified in their entirety by the Cautionary Statements.

                                                 --------------------

   THE FORWARD LOOKING STATEMENTS INCLUDED HEREIN ARE ALSO BASED ON CERTAIN
   CURRENT BUDGETING CONSIDERATIONS AND OTHER ASSUMPTIONS RELATING TO THE
   PARTNERSHIP'S ABILITY TO OBTAIN RETURNS FOR ITS INVESTORS, SUCCESSFULLY MARKET
   ITS SERVICES, PROCURE SUFFICIENT CAPITAL TO EXPAND OPERATIONS AND MAINTAIN
   STRICT REGULATORY PROCEDURES WHILE CONDUCTING BUSINESS. ASSUMPTIONS
   RELATING TO THE PROCEEDING AND FOREGOING INFORMATION INVOLVE JUDGMENTS THAT
   ARE DIFFICULT TO PREDICT ACCURATELY AND ARE SUBJECT TO NUMEROUS FACTORS
   WHICH MAY MATERIALLY AFFECT THE PARTNERSHIP’S RESULTS.

   BUDGETING, INVESTMENT AND OTHER MANAGERIAL DECISIONS ARE SUBJECTIVE AND ARE
   THUS SUSCEPTIBLE TO INTERPRETATIONS AND PERIODIC REVISIONS BASED ON ACTUAL
   EXPERIENCE AND BUSINESS DEVELOPMENTS, THE IMPACT OF WHICH MAY CAUSE THE
   PARTNERSHIP TO ALTER BUDGETS AND AMEND STRATEGIES, ANY OR ALL OF WHICH MAY
   MATERIALLY AFFECT THE PARTNERSHIP'S RESULTS.

   THE FOREGOING CONSIDERATIONS, AS WELL AS A VARIETY OF OTHER FACTORS NOT SET
   FORTH HEREIN, COULD CAUSE THE PARTNERSHIP'S ACTUAL RESULTS AND EXPERIENCE TO
   DIFFER WIDELY OR MATERIALLY FROM THE ANTICIPATED RESULTS OR OTHER
   EXPECTATIONS IN THE PARTNERSHIP'S FORWARD LOOKING STATEMENTS.

   	  




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                                                    Statement to EB5 Investors
          1) The Project will be located in Florida, within one or more Targeted Employment Areas (TEAs).
             Therefore, pursuant to EB-5 guidelines, EB-5 Investors must invest a minimum amount of
             $500,000.00.

          2) The management and staffing projections for the Project show that the Project will create
             sufficient new direct and indirect jobs to support the number of investors sought. Please refer to
             the attached business plan and economic analysis for further information.

          3) EB-5 guidelines require the investment to be at risk. Investors should consult their own counsel
             and/or independent advisor for recommendations about this investment.

                                                                   ----------------------------

    IF YOU LIVE OUTSIDE THE UNITED STATES, IT IS YOUR RESPONSIBILITY TO FULLY OBSERVE
    THE LAWS OF ANY RELEVANT TERRITORY OR JURISDICTION OUTSIDE THE UNITED STATES
    CONNECTED WITH ANY PURCHASE OF UNITS, INCLUDING OBTAINING REQUIRED
    GOVERNMENTAL OR OTHER CONSENTS OR OBSERVING ANY OTHER REQUIRED LEGAL
    FORMALITIES IN RELATION TO THE PARTNERSHIP.

                                        EB-5 VISA: CASE PROCESSING PROCEDURES

    For	  applicants	  outside	  the	  United	  States:	  
           •	   The	  applicant	  first	  makes	  a	  qualifying	  investment	  
           •	   The	  applicant	  files	  a	  Form	  I-­‐526	  petition	  (and	  supporting	  documents)	  with	  USCIS.	  
           •	   The	  U.S.	  Department	  of	  State’s	  National	  Visa	  Center	  processes	  the	  EB-­‐5	  immigrant	  visa	  through	  
                 the	  local	  U.S.	  consular	  post	  with	  jurisdiction	  over	  the	  place	  of	  residence.	  
           •	   The	  applicant	  uses	  the	  EB-­‐5	  immigrant	  visa	  to	  enter	  the	  United	  States,	  which	  commences	  the	  
                 two-­‐year	  conditional	  lawful	  permanent	  resident	  status.	  
           •	   Approximately	  21	  months	  later,	  the	  applicant	  must	  file	  a	  Form	  I-­‐829	  to	  remove	  the	  conditional	  
                 status.	  
           •	   The	  applicant	  must	  provide	  supporting	  documents	  to	  establish	  that	  they	  have	  satisfied	  all	  EB-­‐5	  
                 qualifying	  conditions.	  
           •	   Upon	  approval,	  a	  new	  ten-­‐year	  unconditional	  green	  card	  is	  issued.	  	  
    For	  applicants	  having	  lawful	  non-­‐immigrant	  status	  within	  USA	  and	  staying	  in	  USA:	  
           •	   The	  applicant	  first	  makes	  a	  qualifying	  investment	  
           •	   The	  applicant	  files	  a	  Form	  I-­‐526	  petition	  (and	  supporting	  documents)	  with	  USCIS.	  
           •	   On	  approval	  of	  Form	  I-­‐526,	  the	  applicant	  files	  a	  Form	  I-­‐485	  (Application	  to	  Register	  Permanent	  
                 Residence	  or	  Adjust	  Status).	  
           •	   Upon	  approval	  of	  the	  Form	  I-­‐485,	  the	  applicant	  is	  granted	  a	  conditional	  lawful	  permanent	  
                 resident	  status,	  which	  is	  valid	  for	  two	  years.	  
           •	   Approximately	  21	  months	  later,	  the	  applicant	  must	  file	  a	  Form	  I-­‐829	  to	  remove	  the	  conditional	  
                 status.	  
           •	   The	  applicant	  must	  provide	  supporting	  documents	  to	  establish	  that	  they	  have	  satisfied	  all	  EB-­‐5	  
                 qualifying	  conditions.	  
           •	   Upon	  approval,	  a	  new	  ten-­‐year	  unconditional	  green	  card	  is	  issued.	  	  



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                                 PATRIOT ACT RIDER
    EACH POTENTIAL INVESTOR HEREBY REPRESENTS AND WARRANTS THAT IT: (I) IS NOT, NOR
    IS IT ACTING AS AN AGENT, REPRESENTATIVE, INTERMEDIARY OR NOMINEE FOR, A
    PERSON IDENTIFIED ON THE LIST OF BLOCKED PERSONS MAINTAINED BY THE OFFICE OF
    FOREIGN ASSETS CONTROL, U.S. DEPARTMENT OF TREASURY; AND (II) HAS COMPLIED
    WITH ALL   APPLICABLE  U.S.  LAWS, REGULATIONS, DIRECTIVES,  AND      EXECUTIVE
    ORDERS RELATING TO ANTI-MONEY LAUNDERING , INCLUDING BUT NOT LIMITED TO THE
    FOLLOWING LAWS: (1) THE UNITING AND STRENGTHENING AMERICA BY PROVIDING
    APPROPRIATE TOOLS REQUIRED TO INTERCEPT AND OBSTRUCT TERRORISM ACT OF 2001,
    PUBLIC LAW 107-56, AND (2) EXECUTIVE ORDER 13224 (BLOCKING PROPERTY AND
    PROHIBITING TRANSACTIONS WITH PERSONS WHO COMMIT, THREATEN TO COMMIT, OR
    SUPPORT TERRORISM) OF SEPTEMBER 23, 2001.

    	  




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                                         Summary of the Business
    	  

    The Partnership offers its Investors projected returns with yearly distributions.

           1. The General Partner of the Partnership is South Atlantic Regional Center, LLC (“General
              Partner”). The Managers of the General Partner have a successful history of commercial
              development, construction, retail, and management experience.

           2. Timeline for acquisition of funding is anticipated for early 2013. Construction has commenced
              using bridge financing, and EB-5 funding is required to complete remodeling work on the facility.

           3. The Partnership anticipates that the Project will be open for business by the end of 2014.

           4. Anticipated project costs will be $91,000,000. See “Use of Proceeds.”

           5. The Project shall provide substantial benefits to the regional economy that exceeds the strict
              USCIS requirements for job creation that will allow a foreign Investor to qualify for an EB-5
              Immigration Visa.

           6. The Offering provides the Investors with a projected annual dividend.




    SUMMARY OF PARTNERSHIP AND HOTEL PROJECT
    The Hotel Project will seek to accomplish the following:

           1. The Partnership will loan funds to the Borrower, with such funds derived from either: (i) foreign
              Investors through the EB-5 program; or (ii) U.S. Investors. The Borrower will develop and build
              the Project (please review the Business Plan Summary herein for more details).

           2. The Project will serve the greater Florida primary market area (Palm Beach County) by seeking to
              create jobs and increase U.S. exports by developing a high-end resort hotel.

           3. A more detailed description of the Project is included in the full business plan.

           4. The Partnership, through investment in the Project, offers the foreign and U.S. investor excellent
              projected returns with yearly cash distributions. The Investors shall collectively own 99% of the
              Partnership, and the General Partner shall own 1% of the Partnership.

           5. The Partnership is projecting a five (5) year ROI based upon: a one-quarter of one percent
              (0.25%) preferred non-cumulative annual dividend. These ROI calculations show an annualized
              rate of return of 0.25%, with an overall ROI of 1.25%. Please review the Return on Investment
              section in the full business plan for details of the anticipated distributions.

           6. Projected dividends and net profits will be distributed to the Investors not less frequently than
              annually.

           7. As determined by the General Partner of the Partnership, in its sole discretion, between the end
              of the fifth year and seventh year of the operation of the Project, the Partnership will either: (i)
              market the Project for sale, and the pro rata share of the profits realized from the sale (if any) will



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              be distributed to the Partners of the Partnership (including the Investors up to the amount of their
              then-current investment); or (ii) the General Partner or Partnership may repurchase the interests
              of each EB-5 Investor for an amount equal to the net capital invested by each EB-5 Investor, if
              the General Partner has sufficient funds to do so.

           8. Upon sale of all of the assets of the Partnership and/or liquidation of the Partnership, the net
              proceeds (after normal and customary costs of sale) shall be distributed as follows: (i) the
              Investors shall each receive a pro rata share of the net proceeds, up to a maximum of the net
              sums invested by each of them in the Partnership; (ii) to the extent there are excess proceeds,
              such proceeds shall be distributed to the General Partner.

    	  

    	                                 	  




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                                     THE OFFERING TERM SHEET
    	  

            This summary of certain provisions of this Memorandum is intended only for convenient
    reference. It is not intended to be complete and is qualified in its entirety by the more detailed information
    contained elsewhere in this Memorandum and in the Exhibits hereto. The full text of this Memorandum,
    and the Exhibits, should be read in detail and understood by each potential Investor. The term “Investor”
    shall mean persons or entities receiving this Memorandum.



    THE PARTNERSHIP:	                              The Partnership is a Florida Limited Liability Limited
                                                    Partnership. Its principal office is located at: 197 S.
                                                    Federal Highway, Suite 200, Boca Raton, FL 33432;
                                                    Telephone: (561) 282-6102. The Partnership is offering for
                                                    sale Units of limited partnership interests to Accredited
                                                    Investors pursuant to the EB-5 Program.


    SECURITIES:                                     Units of limited partnership interests in the Partnership
                                                    shall be issued to Investors in this Offering, with one (1)
                                                    Unit issued for each $500,000 investment. The Offering
                                                    hereunder is 79 Units.

    THE GENERAL PARTNER:                            South Atlantic Regional Center, LLC is the general partner
                                                    of the Partnership. The initial Managers of the General
                                                    Partner and summary background information regarding
                                                    the Managers of the General Partner appears in the
                                                    section entitled “Management Team.”

                                                    The General Partner shall provide overall management
                                                    and supervision of the Partnership.

    BORROWER:                                       Palm House, LLC (“Borrower”) is a Delaware limited
                                                    liability company. Borrower seeks financing from the
                                                    Partnership in order to operate a business involving the
                                                    renovation and development of a high-end resort hotel.
                                                    See “Use of Proceeds” below.

    EB-5 REGIONAL CENTER SPONSORSHIP:               The Project is sponsored by South Atlantic Regional
                                                    Center (SARC) (the “Regional Center”), a Florida limited
                                                    liability company. The Regional Center has been approved
                                                    by the U.S. Citizenship and Immigration Services
                                                    (“USCIS”) to serve as an approved regional center under
                                                    the EB-5 Immigrant Investor Pilot Program to establish and
                                                    solicit investment from foreign investors in U.S. businesses
                                                    for the purposes of creating U.S. jobs.

    COMPOSITION OF PARTNERSHIP:                     The Partnership will be composed of: (i) the General
                                                    Partner, which will own a 1% interest in the Partnership
                                                    and (ii) Limited Partners, which will collectively own a 99%
                                                    interest in the Partnership.




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    UNITS OFFERED:                   One (1) Limited Partnership Unit (i.e. 1%) will be owned by
                                     affiliates of the individuals or Persons who are the
                                     Managers of the General Partner (“Promoter Limited
                                     Partnership Units”), and 79 Limited Partnership Units (i.e.
                                     99%) (all rounded to the nearest one percent (1%)) will be
                                     offered to Investors.

                                     The Partnership is offering for sale up to 79 Limited
                                     Partnership Units, for a total offering of $39,500,000.
                                     Payment for Units of the Partnership must be paid in cash,
                                     upon subscription.

    MINIMUM INVESTMENT:	            $500,000.00, for one (1) Unit.

    USE OF PROCEEDS:                 The Partnership will loan ("Loan") the proceeds of this
                                     Offering to the Borrower to partially finance the acquisition,
                                     development, and operation of the Project. The
                                     Partnership will make the Loan to Borrower on the terms
                                     set forth in the Loan Documents attached hereto. See
                                     Capital Requirements and Estimated Use of Proceeds and
                                     Summary of Loan Terms below.

    TERMS OF THE OFFERING:           All subscription funds received from Investors will be paid
                                     to a special escrow account (“Escrow Account”)
                                     maintained by a reputable bank (“Escrow Bank”) under the
                                     control of the bank or another entity (“Escrow Agent”) as
                                     defined in the Escrow Agreement. The Escrow Agent may
                                     invest the subscription funds in investment grade debt
                                     instruments of the United States government. All interest
                                     earned on the Escrow Account will be the property of the
                                     Partnership unless the Offering is unsuccessful, in which
                                     event each potential Investor will receive its pro rata share
                                     of the income earned, less administrative and other similar
                                     costs.

                                     To maintain complete security in the payment process for
                                     the investor and the partnership, subscription funds will be
                                     wired into the Escrow Bank and held in Escrow under the
                                     terms set forth in the Escrow Agreement. Separately, the
                                     $40,000 administration fee is also wired to the Escrow
                                     Bank. The Escrow Account will be released to the
                                     Partnership at such time as (a) the Investor’s I-526
                                     application is approved by the USCIS, or (b) as defined in
                                     the Escrow Agreement. In the event that a subscription is
                                     not accepted, the subscription funds paid by such potential
                                     Investor, together with interest earned thereon, if any, shall
                                     be promptly returned to the potential Investor.

    TERM PERIOD:                     The term of the existence of the Partnership will be as set
                                     forth in the Partnership Agreement.

    DISTRIBUTIONS / DIVIDENDS:       The General Partner will determine, in its sole discretion,
                                     the amount, timing (not less than annually) and form of
                                     distributions by the Partnership, if any.

                                     The Partnership may not make any distributions: (1) In



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                                     violation of the Partnership Agreement; (2) If after the
                                     distribution: (a) It would not be able to pay its debts as they
                                     become due in the ordinary course of it’s activities; or (b)
                                     Its total assets would be less than the sum of its total
                                     liabilities plus the amount that would be needed, if it was
                                     dissolved, wound up and terminated at the time of the
                                     distribution to satisfy the preferential rights upon
                                     dissolution, winding up and termination of partners whose
                                     preferential rights are superior to those of persons
                                     receiving the distribution.

                                     The Partnership may base a determination that a
                                     distribution is not prohibited under subsection (2) on
                                     financial statements prepared on the basis of accounting
                                     practices and principles that are reasonable in the
                                     circumstances or on a fair valuation or other method that is
                                     reasonable in the circumstances.

                                     Distributions of funds from operations of the Partnership
                                     shall be made in the following order of priority:

                                     1. To the EB-5 Investors until the annual distributions to
                                     those Investors equals one-quarter of one percent (0.25%)
                                     of the capital invested by each EB-5 Investor (“EB-5
                                     Preferred Return”).

                                     2. The balance to the General Partner.

                                     It is the intention of the Partnership to refinance the project
                                     after the fifth year of operations. In such event, the
                                     Partnership and/or the General Partner or their designees
                                     may repurchase the interests of each EB-5 Investor for an
                                     amount equal to the net capital invested by each EB-5
                                     Investor, if they have sufficient funds to do so.

                                     The rules and regulations governing the EB-5 Pilot
                                     Program prohibit the return of an EB-5 Investor’s
                                     investment prior to the approval of the Investor’s I-829
                                     petition. See “EB-5 Immigration Disclosures and Risk
                                     Factors” and “Risk Factors.”

    RESTRICTIONS ON RESALE:          The Investor(s) who purchase any Units pursuant to this
                                     Offering will be restricted from selling, transferring,
                                     pledging or otherwise disposing of any Units due to
                                     restrictions under securities laws and the Partnership
                                     Agreement.

    HOW TO INVEST:                   Each Investor must execute and deliver the Subscription
                                     Agreement attached hereto.

    WHO MAY INVEST:                  The Units of the Partnership are being offered pursuant to
                                     this Memorandum solely to persons who are "accredited
                                     investors" as defined in Regulation D promulgated under
                                     the Act. See the Accredited Investor Suitability
                                     Questionnaire attached hereto.




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    INVESTOR SUITABILITY:            This Offering will be made pursuant to exemptions from
                                     registration provided by Section 4(2) of the Act, Regulation
                                     D promulgated thereunder, and exemptions available
                                     under applicable state securities laws and regulations.
                                     Persons desiring to invest in the Partnership will be
                                     required to make certain representations and warranties
                                     regarding their financial condition in the Subscription
                                     Agreement attached hereto. Such representations include,
                                     but are not limited to, certification that the Investor is an
                                     accredited Investor under SEC regulations. The
                                     Partnership reserves the right to reject any Subscription in
                                     whole, or in part, in its sole discretion. See “Suitability
                                     Standards.”

                                     THE   SUBSCRIPTION   AGREEMENT    INCLUDES
                                     CERTAIN REPRESENTATIONS AND WARRANTIES OF
                                     THE INVESTOR ON WHICH THE PARTNERSHIP WILL
                                     RELY IN DETERMINING WHETHER TO ACCEPT THE
                                     SUBSCRIPTION. PROSPECTIVE INVESTORS ARE
                                     URGED TO READ THE SUBSCRIPTION AGREEMENT
                                     CAREFULLY AND, TO THE EXTENT THEY DEEM
                                     APPROPRIATE, TO DISCUSS THE SUBSCRIPTION
                                     AGREEMENT, THIS MEMORANDUM AND THEIR
                                     PROPOSED INVESTMENT IN THE UNITS WITH THEIR
                                     LEGAL OR OTHER ADVISORS.

    ADMINISTRATIVE FEES:             EB-5 participants will be required to pay a $40,000
                                     administrative fee. Any other administrative or other fees
                                     paid to any party in connection with the sale of Units
                                     pursuant to this Offering shall not be paid out of the
                                     proceeds of Capital Contributions of EB-5 participants.
                                     This administrative fee is in addition to any fees paid by
                                     Investors for the preparation of USCIS applications, forms,
                                     or paperwork.

    RISK FACTORS:                    The Units offered hereby involve a high degree of risk. See
                                     "Risk Factors" set forth in the Memorandum.

    TAX RISKS:                       Investment in the Partnership involves substantial tax
                                     risks. Although the primary motive of Investors should be
                                     for current income and/or long-term appreciation, state and
                                     federal legislatures and tax authorities may alter and
                                     change the permissible deductions that may be taken with
                                     respect to the Project and its income, and may change the
                                     tax rates to less favorable rates. In addition, the state and
                                     federal tax authorities may be more likely to audit
                                     taxpayers with higher incomes or partnership income or
                                     loss. Since Investors generally fall into this category, the
                                     Partnership also has an increased risk of being audited.
                                     Such an examination could result in adjustments to items
                                     that are related to the Partnership. Investors and/or the
                                     Partnership may incur legal or other professional expenses
                                     in connection with such audit or the adjustments resulting
                                     from such audit. The Partnership has not obtained a legal
                                     opinion or ruling from any tax authority regarding any tax
                                     aspects of the Project, the Partnership or its business. The



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                                     tax risks include, without limitation, the following: (i)
                                     Changes in federal income tax laws; (ii) Partnership status;
                                     (iii) Taxable income in excess of distributions; (iv)
                                     Allocation of tax items among Limited Partners; (v)
                                     Allocation of purchase price; (vi) Partnership termination;
                                     (vii) At risk limitations; (viii) Risk of audit; (ix) Profit
                                     objective; and (x) Limitations on passive losses. This tax
                                     discussion is not tax advice to Investors. Each Investor is
                                     advised to consult with his or her own tax advisor
                                     regarding the tax consequences of investing in the
                                     Partnership. See “Risk Factors” below.

    RESIDENCY RISKS:                 Neither the Partnership nor the General Partner
                                     guarantees that any EB-5 participant will be granted
                                     conditional or permanent residency in the United States as
                                     a result of their purchase of Units of the Partnership. Each
                                     Investor must evaluate and accept the risk that he/she
                                     may not be granted residency in the United States after
                                     making their capital contribution and being admitted as a
                                     Limited Partner of the Partnership.

    SUBSCRIPTIONS:                   Investors who wish to subscribe for the Units may do so by
                                     executing the Subscription Agreement attached hereto and
                                     delivering the completed materials and payment for the
                                     Units to the Partnership. A subscription may not be
                                     considered for acceptance unless it is completely filled out
                                     and properly executed and is accompanied by payment in
                                     full for the Units which are being purchased.
                                     Subscriptions accompanied by payment in the form of
                                     a personal check, if accepted, will be so accepted
                                     conditioned upon and subject to clearance of the
                                     check and the Units will not be delivered until the
                                     check clears. Funds accompanying any subscription not
                                     accepted by the Partnership will be promptly returned to
                                     the Investor without interest thereon or deduction
                                     therefrom.

    AVAILABILITY OF FUNDS:           All proceeds from the sale of Units once the escrow
                                     conditions have been satisfied will be delivered directly to
                                     the Partnership and be available for use by the Partnership
                                     for Partnership purposes, at its discretion.

    RESALE OF UNITS:                 There is no market for the Units. It is not anticipated or
                                     intended that one will develop. This is a non-liquid
                                     investment. (See “Risk Factors” — there is no market for
                                     the Partnership’s Units.) Further, there are substantial
                                     restrictions on private and/or public resale.

    REPORTS TO LIMITED PARTNER:      The Partnership will furnish financial statements to Limited
                                     Partners annually.

    	  




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                                    Investor Suitability Standards
    INVESTMENT IN THE UNITS OF Palm House Hotel, LLLP INVOLVES A HIGH DEGREE OF RISK AND
    IS SUITABLE ONLY FOR THOSE INVESTORS WHO HAVE SUBSTANTIAL FINANCIAL RESOURCES
    IN RELATION TO THEIR INVESTMENT AND WHO UNDERSTAND THE PARTICULAR RISK
    FACTORS OF THIS INVESTMENT. IN ADDITION, INVESTMENT IN THE UNITS IS SUITABLE ONLY
    FOR AN INVESTOR WHO DOES NOT NEED LIQUIDITY IN THE INVESTMENT AND IS WILLING TO
    ACCEPT RESTRICTIONS ON THE TRANSFER OF THE UNITS.

    No Registration or Secondary Market
    The Units have not been registered under the Act but are being offered and sold in reliance upon
    exemptions from registration contained in Sections 4(2) and 4(6) of the Act as interpreted by the
    Securities and Exchange Commission (the “Commission”) and in Rule 506 of Regulation D promulgated
    thereunder (“Regulation D”). See “STATUS OF UNITS UNDER SECURITIES LAWS; RESTRICTED
    UNITS”.

    There will be no secondary market for the Units subsequent to this Offering. See “RISK FACTORS”. For
    the foregoing and other reasons, a purchase of Units is suitable only for Investors of substantial net worth
    who (I) are willing to purchase a high risk investment, (ii) can afford to hold their Units for an indefinite
    period and do not anticipate that they will be required to sell their Units in the foreseeable future, and (iii)
    have sufficient net worth to sustain a total loss of their investment in the Partnership in the event that such
    loss should occur.

    Investor Suitability

    Subject to the right of the Partnership to sell Units to Accredited Investors, Units will be sold only to those
    Investors who submit an Offeree Questionnaire in the form attached hereto establishing to the satisfaction
    of the Partnership that:

    1.      The Investor is an "Accredited Investor," as defined as follows:

                  (i)      a natural person who, either individually or jointly with his/or her spouse, has a
                           minimum net worth of $1,000,000 (net worth shall be determined exclusive of
                           primary residence), or who had an individual income in excess of $200,000 in each
                           of the two most recent years or joint income with that person’s spouse in excess of
                           $300,000 in each of those years and has a reasonable expectation of reaching the
                           same income level in the current year.

                  (ii)     any other Accredited Investor, as defined by Regulation D or the SEC.

    2.       The Accredited Investor has such knowledge and experience in financial and business matters
    that he/she/it is able to evaluate the merits and risks of an investment in the Units.

    3.        The Accredited Investor has the financial ability to bear the economic risk of an investment in the
    Units, adequate means of providing for his current needs and personal contingencies, and no need for
    liquidity in an investment in the Units.

    4.       The Accredited Investor is acquiring the Units for his own account for investment and not with a
    view to resale or distribution.




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    Investor Suitability (Regulation S)

    The Company’s Units will also only be offered to those investors who are not a “U.S. person” as defined
    by Rule 902(k) under Regulation S, which include:

        (i) Any natural person resident in the United States;

        (ii) Any partnership or corporation organized or incorporated under the laws of the United States;

        (iii) Any estate of which any executor or administrator is a U.S. person;

        (iv) Any trust of which any trustee is a U.S. person;

        (v) Any agency or branch of a foreign entity located in the United States;

        (vi) Any non-discretionary account or similar account (other than an estate or trust) held by a dealer
             or other fiduciary for the benefit or account of a U.S. person;

        (vii) Any discretionary account or similar account (other than an estate or trust) held by a dealer or
              other fiduciary organized, incorporated, or (if an individual) resident in the United States; and

        (viii) Any partnership or corporation if:

            (A) Organized or incorporated under the laws of any foreign jurisdiction; and

            (B) Formed by a U.S. person principally for the purpose of investing in securities not registered
                under the Act, unless it is organized or incorporated, and owned, by accredited investors (as
                defined in Rule 501(a)) who are not natural persons, estates or trusts.

    Please study the terms of the Subscription Agreement, this Memorandum and all related documents
    carefully before you decide to subscribe for Units.

    The Partnership will review all subscription documents and will not accept subscriptions from any person
    or entity who does not represent that he/it complies with the applicable standards specified above.




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    PROSPECTIVE INVESTORS ARE NOT TO CONSTRUE THE CONTENTS OF THIS MEMORANDUM
    OR ANY OTHER COMMUNICATIONS FROM THE PARTNERSHIP OR ANY OF ITS MANAGERS,
    EMPLOYEES, ACCOUNTANTS OR LEGAL COUNSEL AS LEGAL OR TAX ADVICE. EACH
    INVESTOR SHOULD CONSULT HIS OR HER OWN COUNSEL AND ACCOUNTANT AS TO LEGAL
    AND TAX MATTERS AND RELATED MATTERS CONCERNING HIS OR HER INVESTMENT.

    The Partnership reserves the right to reject the subscription of any prospective Investor at any time prior
    to acceptance and to refund, without interest thereon and without any deduction there from, any funds
    paid to the Partnership by such prospective Investor.

    STATUS OF UNITS UNDER SECURITIES LAWS; RESTRICTED UNITS
    Investors will have no right to require registration of the Units comprising their Units under the 1933 Act or
    any state securities laws, and such registration is neither contemplated nor likely. In addition, the
    Partnership will not make public such information as would permit an Investor to transfer his or her Units
    pursuant to the provisions of Rule 144 promulgated under the 1933 Act.

    The Units are “restricted” as that term is defined in Rule 144 under the Act and, as a result, are subject to
    substantial restrictions upon transfer or resale. The Units may, absent registration, in the future be sold
    only in compliance with Rule 144 or other exemption from registration under the Act, the availability of
    which must be established to the satisfaction of the Partnership, unless the Units are covered by an
    effective registration statement under the Act.

    Prospective Investors will be required to represent to the Partnership that they understand that:

        a) The Units have not been registered under the Act or under the securities laws of any state. They
           will not be able to sell or transfer any of the Units unless they are registered or sold pursuant to
           an exemption from registration under the Act and under applicable state securities laws, the
           availability of which exemptions may never occur and, if they do, are to be established to the
           satisfaction of the Partnership;

        b) Neither the Partnership nor any affiliate has made any representation concerning future
           registration of the Units, except for compliance with an exemption from registration;

        c) Since the Units cannot be readily sold, Investors must be prepared to bear the economic risk of
           the investment indefinitely;




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                                            Use of Proceeds
    The net proceeds to be received by the Partnership from the sale of the Units offered hereby, after
    deducting the anticipated expenses of the Offering, are estimated to be $39,500,000.00, assuming the
    maximum sale of the Units offered hereby, of which there can be no assurance.

    The amounts actually expended for each purpose may vary significantly depending upon a number of
    factors. The Partnership reserves the right to reallocate the proceeds of this Offering in response to a
    variety of factors and related contingencies.

    ESTIMATED USE OF NET PROCEEDS
    Although the Partnership has broad discretion to adjust the application and allocation of the net proceeds
    of this Offering in order to address changed circumstances and opportunities, the Partnership intends to
    loan the proceeds of this Offering to Borrower for the uses described in this Offering Memorandum.

    In order to achieve its objectives as described herein, the Borrower seeks financing to operate a business
    involving the renovation and development of a high-end resort hotel.

    As further described in the Summary of Loan Terms below, Borrower is required to create 10 new full-
    time direct, indirect, and induced jobs for each $500,000 advanced under the Loan within two and one
    half years of the First Advance.




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                                           Return on Investment
    The Partnership has prepared the following projections based upon projected revenue and the return on
    investment which may be paid to an EB-5 Investor (“ROI”).

    For illustration purposes, the following table shows the ROI for an EB-5 Investor based upon a
    $500,000.00 investment.

    The ROI projections concerning the estimated operating results of the Partnership have been prepared by
    the management of the General Partner. These projections are based on certain assumptions which may,
    or may not, prove to be inaccurate and which are subject to future conditions that may be beyond the
    control of the Partnership, such as the general industry and market conditions. The Partnership may
    experience unanticipated costs or lower revenues than forecast. There is no assurance that the results
    which are illustrated in the ROI projections will, in fact, be realized by the Partnership.



                                                     ASSUMPTIONS

                               Total Initial Investment                       $500,000.00

                               Annual Preferred Dividend to EB-5                    0.25%
                               Investor

                               Equity of EB-5 Investor                              1.25%



    The Partnership is projecting a five (5) year ROI based upon: (i) a one-quarter of one percent (0.25%)
    preferred dividend for the first five years; (ii) annual distributions of cash flow from operations; and (iii) the
    distribution to be paid to the EB-5 Investor upon the refinancing of the Project at the end of the fifth (5th)
    year of operations of the Project.

    The projected ROI of an EB-5 Investor is as follows:

        (i)      0.25% annual return. Each Investor will be entitled to receive a 0.25%, non-cumulative,
                 annual preferred distribution based on their initial investment of $500,000.00. The preferred
                 return shall be paid prior to calculating and making any additional distributions and/or
                 dividends to the other Investors and/or Partners. The annual preferred dividend to be paid to
                 all of the Investors (based upon a total investment of $39,500,000.00) is $21,250 per year or
                 $1,250 per Investor per year. The non-cumulative preferred return will begin to accrue on the
                 first day that the Project is open for business to the public and will be paid annually until the
                 assets of the Partnership are sold. The total projected preferred return for an EB-5 Investor
                 making a $500,000.00 investment is $6,250.

        (ii)     Bonus Distribution. Each Investor shall have the opportunity to participate in the profitability
                 of the commercial enterprise funded by this Offering. Should Palm House, LLC (the
                 “Borrower”) achieve certain performance goals, Investors shall receive bonus distributions.
                 Specifically, (a) if the Project is commercially successful enough that Palm House, LLC is
                 able to sell the Project for $110,000,000 or more before repayment of Investor contributions,
                 then Investors shall be entitled to an additional bonus distribution totaling 5% of the amount
                 invested, or (b) if the Project is commercially successful enough that Palm House, LLC is
                 able to sell the Project for $130,000,000 or more before repayment of Investor contributions,
                 then Investors shall be entitled to an additional bonus distribution totaling 10% of the amount
                 invested.




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        (iii)    Bonus Benefits. In addition to the distributions discussed herein, Investors shall additionally
                 be entitled to certain benefits related to the Project. Once the hotel is operational, and subject
                 to availability, Investors will be entitled to receive a complimentary one week hotel stay each
                 year during the term of the investment. This hotel stay benefit accrues only to each Investor,
                 and is not transferrable. As an additional bonus benefit, once the hotel’s membership club is
                 operational, Investors shall be entitled to join that membership club, and shall receive a
                 discount of 50% off the normal price of membership. This benefit is subject to the terms of the
                 Membership Club Rules. Exercise of these bonus benefits is at each Investor’s option.

        (iv)     Annual Distribution. After the payment of the annual preferred return to the EB-5 Investors,
                 the net cash flow from operations will be distributed to the General Partner.

        (v)      Distribution upon Sale or Liquidation. It is contemplated that the Project will be refinanced
                 after the fifth year of operations, and Units repurchased from Limited Partners at that time.

                 Upon sale of all of the assets of the Partnership and/or liquidation of the Partnership, the net
                 proceeds (after normal and customary costs of sale) shall be distributed as follows: (i) the
                 Investors shall each receive a pro rata share of the net proceeds, up to a maximum of the net
                 sums invested by each of them in the Partnership; (ii) to the extent there are excess
                 proceeds, such proceeds shall be distributed to the General Partner.

                 The General Partner shall own 1% of the Partnership. The Investors shall collectively own
                 99% of the Partnership (rounded to the nearest one percent).


    The following total ROI is based on an EB-5 investment of $500,000.00 and is in addition to the potential
    return of the $500,000.00 initial investment.




                                                    Individual ROI

                               0.25% preferred non-cumulative                    $6,250
                               annual dividend


                               Annual Additional Distributions                         -

                               Property Sale                                           -

                               TOTAL ROI                                         $6,250




    The total ROI is based on a 0.25% preferred non-cumulative annual dividend. These ROI calculations
    show an annualized rate of return of 0.25%, with an overall ROI of 1.25%.

    ROI DISCLOSURES
    Profits of the Borrower, if any, will be used first to pay operating expenses and service debts and
    obligations of the Borrower. Any remaining profits will be used to establish reserves required by law, in
    addition to those deemed necessary by the General Partner in its sole discretion, for maintenance, capital
    improvements, and structural repairs to the Project. Any remaining profits may be available for distribution
    to Partners in accordance with the LP Agreement (attached).




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    Proceeds of this Offering do not include Administrative Fees. Offering Expenses, commissions, and fees
    incurred in connection with this Offering shall be paid from the proceeds of Administrative Fees and not
    from EB-5 Capital Contributions.

    The General Partner determines in its sole discretion the amount, if any, timing and form of any
    distribution of profits by the Partnership.

    The Partnership shall not make a distribution (i) if after such distribution liabilities of the Partnership, other
    than liabilities to Partners on account of their Partnership Interests (as defined in the LP Agreement),
    exceed the fair value of the assets of the Partnership, (ii) to EB-5 Limited Partners, other than
    distributions from Available Cash Flow, prior to the fifth anniversary date of the EB-5 Limited Partner's
    admission as a Partner of the Partnership. After the fifth anniversary date of the EB-5 Limited Partner's
    admission as a Partner, the foregoing restriction shall no longer apply, to the extent such distribution is
    prohibited under the Act. See Summary of Limited Partnership Agreement below.

    The rules and regulations governing the Pilot Program prohibit the return of an EB-5 investor's investment
    prior to the approval of the Investor’s I-829 application. Accordingly, it is possible that neither Preferred
    Returns nor return of capital will be made to any EB-5 Limited Partner of the Partnership prior to the end
    of the fifth year after the closing of this Offering or his/her investment, whichever is later. See EB-5
    Immigration Disclosures and Risk Factors above.

    An EB-5 Limited Partner's interest in the Partnership shall automatically terminate without further action
    upon repayment of his/her Capital Contribution and all accrued Preferred Returns. See LP Agreement.

    Refinance, Repayment and Extension of the Loan. The terms of the Loan require the Borrower to use
    commercially reasonable efforts to refinance and repay the Loan after the end of the fifth year from the
    First Advance (as defined in the Loan Documents) thereunder. If Borrower is unable to refinance the
    Loan, it may extend the term of the Loan for one or more additional five year terms during which it shall
    continue to make principal and interest payments to the Partnership on the balance of the Loan. See
    Summary of Loan Terms below.




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                                                    Management of the Partnership
    	  

    SARC MANAGEMENT

    PRINCIPAL	  

    Joseph	  J.	  Walsh	  	          	  	       South	  Atlantic	  Regional	  Center,	  LLC,	  Managing	  Member	  

    Joseph	  J.	  Walsh	  was	  born	  and	  raised	  in	  Chicago.	  Mr.	  Walsh	  has	  managed	  and	  owned	  both	  public	  and	  
    private	  corporations	  in	  the	  US.	  Canada	  and	  the	  UK.	  Mr.	  Walsh	  started	  his	  career	  in	  Marketing	  and	  
    Advertising,	  though	  he	  was	  formally	  educated	  as	  an	  Electrical	  Engineer.	  He	  founded	  and	  served	  as	  
    President	  and	  CEO	  of	  several	  startup	  computer	  and	  graphics	  firms	  that	  he	  brought	  to	  the	  public	  markets	  
    in	  the	  late	  1990s	  and	  early	  2000s.	  He	  subsequently	  managed	  several	  successful	  mergers	  of	  public	  
    companies	  and	  has	  extensive	  experience	  in	  merger	  and	  acquisition	  strategy	  and	  law.	  His	  experience	  
    extends	  not	  only	  in	  the	  technical	  realm	  but	  to	  the	  intricacies	  of	  U.S.	  Securities	  and	  Exchange	  laws.	  Mr.	  
    Walsh	  brings	  a	  wealth	  of	  knowledge	  and	  expertise	  to	  South	  Atlantic	  Regional	  Center	  with	  over	  thirty	  
    years	  of	  experience	  in	  marketing,	  development	  and	  process	  engineering.	  

    	  

    PALM HOUSE, LLC MANAGEMENT

    Robert	  V.	  Matthews	  

    Robert	  V.	  Matthews	  is	  the	  chairman	  of	  Matthews	  Ventures	  Holdings,	  LLC.	  	  

    MVH	  is	  a	  diversified	  holding	  company	  with	  interests	  in	  real	  estate,	  hotels,	  software,	  manufacturing	  and	  
    construction.	  The	  companies	  also	  provide	  funding	  for	  start	  up	  businesses,	  as	  well	  as	  the	  acquisition	  of	  
    existing	  businesses	  in	  various	  market	  segments.	  	  Founded	  in	  1982,	  the	  MVH	  companies	  are	  comprised	  of	  
    seasoned	  professionals	  with	  extensive	  experience	  in	  banking,	  hospitality,	  and	  construction.	  

    Over	  the	  past	  several	  years,	  like	  many	  U.S.	  Developers,	  Matthews’	  companies	  were	  battered	  by	  the	  
    financial	  collapse.	  	  The	  group	  has	  weathered	  the	  storm	  and	  returned	  with	  an	  organization	  that	  is	  much	  
    more	  agile	  and	  refined.	  	  The	  exposure	  has	  produced	  an	  organization	  that	  is	  well	  educated	  in	  navigating	  
    the	  distressed	  asset	  financial	  process	  and	  this	  knowledge	  has	  allowed	  us	  access	  to	  a	  substantial	  number	  
    of	  undervalued	  assets.	  	  	  

    Matthews	  Ventures	  Holdings,	  based	  in	  Palm	  Beach,	  is	  currently	  working	  on	  over	  $600	  Million	  worth	  of	  
    product	  under	  development	  ranging	  from	  condos	  to	  hotels	  both	  here	  in	  Florida	  as	  well	  as	  throughout	  
    the	  United	  States.	  	  In	  keeping	  with	  the	  goal	  of	  the	  company	  to	  develop	  one	  of	  kind	  properties	  in	  luxury	  
    destinations,	  all	  of	  the	  MVH	  products	  will	  be	  five	  star	  facilities	  upon	  completion.	  MVH	  is	  the	  principal	  of	  
    both	  HIG	  Acquisitions	  LLC,	  a	  private	  equity	  fund	  that	  is	  acquiring	  strategic	  international	  5	  star	  hospitality	  
    assets	  for	  re-­‐positioning	  and	  Matthews	  Hospitality	  Group,	  a	  consortium	  of	  luxury	  properties	  under	  
    development.	  



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    As	  a	  venture	  capitalist	  Matthews	  was	  named	  Entrepreneur	  of	  the	  Year	  in	  1993.	  He	  has	  controlled	  
    numerous	  companies	  over	  the	  past	  twenty	  five	  years	  including	  FMP,	  Echelon	  Engineering	  and	  
    Construction,	  Bentley	  Churchill,	  and	  Stromberg	  Software.	  He	  also	  holds	  minority	  shares	  in	  several	  other	  
    companies.	  

    	  

    Ryan	  Black	  

    Ryan	  Black	  began	  his	  career	  with	  Kriti	  Management,	  the	  U.S.	  office	  of	  the	  Vardinoyannis	  family,	  one	  of	  
    Europe’s	  wealthiest	  families	  and	  the	  largest	  industrial	  group	  in	  Eastern	  Europe.	  	  As	  Executive	  Vice	  
    President	  of	  Kriti	  Management,	  he	  over	  saw	  the	  allocation	  and	  investment	  of	  over	  200M	  in	  capital	  
    across	  multiple	  asset	  classes	  in	  the	  U.S.	  and	  South	  America.	  	  	  

    In	  2009,	  Mr.	  Black	  left	  Kriti	  to	  serve	  as	  the	  Chief	  Operating	  Officer	  of	  Jumeirah	  South	  America	  and	  to	  
    advise	  the	  Cabot	  family	  on	  their	  investments	  in	  Argentina	  and	  Brazil.	  	  He	  spent	  a	  year	  working	  for	  the	  
    group	  prior	  to	  their	  withdrawal	  from	  the	  South	  American	  market.	  

    In	  2010	  R.	  Black	  Global	  was	  formed	  to	  serve	  as	  an	  investment	  vehicle	  sourcing	  attractive	  investment	  
    opportunities	  for	  a	  variety	  of	  international	  high	  net	  worth	  families,	  funds,	  and	  corporations.	  	  	  

    In	  2012	  alone,	  R.	  Black	  Global,	  on	  behalf	  of	  clients,	  has	  closed	  3	  transactions	  totaling	  83	  million	  dollars	  
    worth	  of	  investment.	  	  Transactions	  this	  year	  to	  date	  include:	  

    •	         A	  500,000	  square	  foot	  development	  parcel	  in	  New	  York,	  NY	  

    •	         A	  portfolio	  of	  385	  improved	  lots	  in	  Reno,	  NV	  

    •	         A	  portfolio	  of	  24	  condos	  in	  Irvine,	  CA	  

    In	  addition	  to	  the	  above	  closed	  transactions,	  R.	  Black	  Global,	  through	  controlled	  entities,	  has	  in	  excess	  of	  
    25	  million	  in	  hospitality	  assets	  under	  contract	  and	  has	  a	  stalking	  horse	  offer	  in	  excess	  of	  30	  million,	  in	  
    backup	  position,	  on	  a	  large	  residential	  development	  opportunity	  outside	  of	  San	  Francisco,	  CA.	  	  	  	  

    R.	  Black	  Global	  acts	  as	  an	  investment	  sourcing	  entity	  and	  operating	  partner	  for	  assets	  acquired.	  	  With	  
    substantial	  international	  equity	  structuring	  experience,	  we	  have	  been	  able	  carve	  out	  a	  substantial	  equity	  
    allotment	  from	  multiple	  sources	  by	  advising	  and	  establishing	  tax	  effective	  investment	  structures	  for	  
    international	  investors.	  	  	  

    	  

    Eduardo	  V.	  Miranda	  

    Mr.	  Miranda	  currently	  serves	  as	  a	  Senior	  Associate	  with	  Metro	  1	  Properties	  in	  Miami,	  Florida,	  a	  
    commercial	  brokerage	  and	  real	  estate	  advisory	  services	  company.	  There,	  he	  represents	  buyers	  and	  
    sellers	  in	  commercial	  real	  estate	  transactions	  including	  hotel,	  industrial,	  multi-­‐family,	  and	  land.	  He	  also	  
    performs	  due	  diligence	  and	  financial	  feasibility	  analysis	  on	  proposed	  acquisitions	  for	  clients,	  produced	  


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    and	  distributed	  offering	  memoranda	  for	  property	  dispositions,	  and	  represented	  retail	  tenants	  in	  site	  
    selection	  and	  lease	  execution.	  

    Prior	  to	  that,	  Mr.	  Miranda	  served	  as	  the	  Development	  Manager	  for	  Oto	  Development,	  LLC,	  a	  hotel	  
    development	  group	  based	  in	  Fort	  Lauderdale,	  Florida.	  His	  duties	  there	  included	  directing	  the	  
    development	  efforts	  of	  Marriott,	  Hilton,	  and	  Hyatt	  branded	  select	  service	  hotels	  from	  site	  selection,	  due	  
    diligence,	  and	  acquisition,	  through	  design	  development,	  permitting,	  construction,	  FF&E	  coordination	  
    and	  hotel	  opening.	  He	  also	  negotiated	  and	  managed	  all	  contracts	  and	  purchase	  orders,	  coordinated	  
    design	  and	  construction	  teams	  during	  project	  origination	  and	  implementation,	  collaborated	  with	  brand	  
    representatives	  to	  ensure	  brand	  standards	  were	  achieved,	  and	  developed	  project	  budgets	  of	  
    approximately	  $75	  million	  for	  new	  hotels	  and	  evaluated	  feasibility	  of	  proposed	  projects.	  

    Mr.	  Miranda	  also	  served	  as	  Acquisition	  and	  Development	  Consultant	  for	  Luxury	  Development	  
    Consultants,	  Inc.,	  where	  he	  performed	  due	  diligence	  and	  financial	  feasibility	  analysis	  on	  proposed	  
    acquisitions	  and	  developments.	  Prior	  to	  that,	  he	  served	  as	  Vice	  President	  of	  Development	  at	  Boca	  
    Resorts	  Inc.	  (now	  LXR	  Luxury	  Resorts,	  an	  affiliate	  of	  The	  Blackstone	  Group),	  where	  he	  managed	  over	  
    $200	  million	  in	  development	  spending	  on	  numerous	  resort	  enhancements	  including	  the	  renovation	  of	  
    existing	  facilities	  in	  Boca,	  Fort	  Lauderdale,	  and	  Naples,	  including	  restaurants,	  bars,	  retail	  outlets,	  pools,	  
    meeting	  rooms,	  and	  guest	  rooms,	  as	  well	  as	  new	  construction	  projects	  including	  a	  golf	  clubhouse,	  luxury	  
    spa,	  and	  a	  112	  room	  guestroom	  tower	  with	  flexible	  meeting	  space	  at	  the	  Boca	  Resort,	  a	  golf	  course	  in	  
    Naples,	  and	  a	  state	  of	  the	  art	  floating	  dock	  marina	  at	  Bahia	  Mar	  in	  Fort	  Lauderdale.	  He	  also	  served	  as	  an	  
    Operations	  /	  Financial	  Analyst	  at	  The	  Breakers	  Palm	  Beach,	  Inc.,	  a	  luxury	  hotel	  on	  Palm	  Beach	  Island.	  His	  
    duties	  there	  included	  controlling	  the	  financial	  performance	  of	  the	  670-­‐acre	  Breakers	  West	  residential	  
    development	  and	  its	  country	  club	  operations.	  

    Mr.	  Miranda	  earned	  a	  Master	  of	  Science	  in	  Hotel	  and	  Food	  Service	  Management	  from	  Florida	  
    International	  University	  in	  1994.	  He	  also	  earned	  a	  Bachelor	  of	  Science	  in	  Industrial	  and	  Systems	  
    Engineering	  from	  the	  University	  of	  Florida	  in	  1992.	  The	  is	  a	  Licensed	  Real	  Estate	  Salesperson	  in	  the	  state	  
    of	  Florida.	  

    	  

    Gerry	  D.	  Matthews	  

    Mr.	  Matthews	  is	  a	  Licensed	  Real	  Estate	  Broker	  at	  Matthews	  Commercial	  Properties,	  where	  he	  has	  
    served	  for	  over	  a	  decade.	  MCP	  specializes	  in	  the	  sales	  and	  leasing	  of	  commercial,	  industrial,	  office	  and	  
    retail	  space	  throughout	  Connecticut;	  it	  has	  completed	  over	  1,000	  transactions	  since	  2001	  and	  earned	  
    the	  Co-­‐Star	  Power	  Broker	  Award	  2003-­‐2011	  top	  20	  brokerage	  firms	  in	  Ct	  /	  Westchester	  county	  N.Y.	  

    Prior	  to	  that,	  Mr.	  Matthews	  served	  as	  a	  Licensed	  Real	  Estate	  Agent	  with	  Giglio	  &	  Krasney	  Commercial	  
    Real	  Estate	  for	  6	  years,	  where	  he	  worked	  directly	  with	  clients	  to	  search,	  locate	  and	  procure	  property	  
    that	  met	  their	  requirements,	  and	  developed	  successful	  marketing	  campaigns	  for	  the	  disposition	  of	  
    clients’	  properties.	  




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    Before	  that,	  Mr.	  Matthews	  served	  as	  Executive	  Vice	  President	  at	  Connecticut	  Factors,	  Inc.	  for	  13	  years.	  
    There,	  he	  supervised	  and	  coordinated	  personnel	  in	  the	  renovation	  of	  commercial	  office,	  and	  industrial	  
    buildings,	  ranging	  in	  size	  from	  25,000	  to	  385,000	  square	  feet,	  as	  well	  as	  several	  condominium	  and	  multi-­‐
    family	  conversion	  projects.	  He	  also	  instituted	  maintenance	  and	  management	  programs	  for	  nine	  
    commercial	  office	  buildings	  totaling	  over	  700,000	  square	  feet	  and	  six	  condominium	  conversions	  and	  
    multi-­‐family	  projects	  totaling	  276	  units,	  and	  attained	  necessary	  materials,	  bids	  and	  proposals	  for	  
    projects.	  

    Concurrently,	  Mr.	  Matthews	  also	  served	  by	  gubernatorial	  appointment	  as	  the	  Real	  Estate	  Commissioner	  
    with	  the	  State	  of	  Connecticut	  Department	  of	  Consumer	  Protection	  from	  1997	  to	  2003.	  There,	  he	  was	  
    tasked	  to	  uphold,	  interpret	  and	  enforce	  the	  laws	  governing	  the	  Real	  Estate	  industry	  in	  Connecticut.	  His	  
    division	  had	  jurisdiction	  over	  20,000	  brokers,	  agents,	  and	  property	  managers	  licensed	  in	  the	  State	  of	  
    Connecticut.	  

    	  

    PROJECT PARTNERS

    ECONOMIC	  CONSULTANT	  

    Dr.	  Michael	  K.	  Evans	     	  	     Evans,	  Carroll	  &	  Associates,	  Inc.,	  Chairman	  

    Dr.	  Evans	  is	  the	  Chairman	  of	  Evans,	  Carroll	  &	  Associates	  (formerly	  Evans	  Economics),	  which	  has	  been	  
    providing	  economic	  forecasting	  and	  consulting	  to	  clients	  since	  1981.	  The	  firm,	  based	  in	  Boca	  Raton,	  
    Florida,	  specializes	  in	  economic	  analysis	  for	  EB-­‐5	  programs,	  economic	  impact	  studies	  of	  development	  
    projects	  and	  new	  construction,	  models	  of	  state	  and	  local	  tax	  receipts,	  impact	  of	  current	  and	  proposed	  
    government	  legislation,	  and	  construction	  of	  econometric	  models	  for	  individual	  industries	  and	  
    companies.	  As	  Chief	  Economist	  for	  the	  American	  Economics	  Group	  from	  2000	  to	  the	  present,	  Dr.	  Evans	  
    has	  also	  built	  a	  comprehensive	  state	  modeling	  system	  that	  provides	  economic	  analysis	  for	  a	  variety	  of	  
    consulting	  projects.	  Previously	  Dr.	  Evans	  was	  founder	  and	  president	  of	  Chase	  Econometric	  Associates	  
    (1970–80),	  and	  served	  as	  Clinical	  Professor	  of	  Economics	  at	  Kellogg	  Graduate	  School	  of	  Management,	  
    Northwestern	  University	  (1996–99)	  and	  Assistant	  and	  Associate	  Professor	  of	  Economics,	  Wharton	  
    School,	  University	  of	  Pennsylvania	  (1964–69).	  Dr.	  Evans	  holds	  a	  Ph.	  D.	  in	  Economics	  from	  Brown	  
    University.	  




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                             Summary of the General Risk Factors
    Before investing in the Units, prospective Investors should be aware that there are risks, including those
    described below, which may affect the Partnership’s business, financial condition or results of operations.
    Prospective Investors should consider carefully these risk factors together with all of the other information
    included in this Memorandum before deciding to purchase any Units.

    An investment in the Units involves a certain degree of risk, including, but not limited to the following. For
    a more detailed description of the risks involved in an investment in the Units see RISK FACTORS below.

             • The Units are illiquid and should only be purchased if the Investor is willing to hold the Units
    for an indefinite period of time.

            • Identifying, completing, and realizing profits in the target market has from time to time been
    highly competitive, and involves a high degree of uncertainty.

            • Many of the Partnership's competitors for investments are far larger than the Partnership, may
    have greater financial resources than the Partnership, and may have management personnel with more
    experience than the Managers of the General Partner.

           • The Partnership’s business or services may fail to perform as expected, and capital
    expenditures may exceed estimates.

            • The Partnership may be forced to alter the design of, and services rendered at, the Project
    after expending resources to determine feasibility.

            • The Partnership’s revenues are subject to changes in regional economic conditions, including
    levels of employment and discretionary disposable income, consumer confidence, and may be affected
    by changes in legislation.

                                             ---------------------------------------

                      EB-5 IMMIGRATION DISCLOSURES AND RISK FACTORS
    The U.S. Congress created the employment-based fifth preference (“EB-5”) immigrant visa category in
    1990 for immigrants who invest in and manage U.S. commercial enterprises that benefit the U.S.
    economy. Each investment needs to create or save at least 10 full-time jobs for U.S. workers.

    A description of the requirements and processes of the EB-5 Program are based on information obtained
    by the Partnership from third parties who the Partnership believes are reliable. However, there can be no
    assurance that such information is accurate or current or that it includes all of the risks relating to U.S.
    immigration laws or the EB-5 Program (see below).

    Investors in this Offering who have subscribed for Units with the intention of applying for a U.S. green
    card through investment in the Partnership should be aware of certain risk factors relating to immigration
    to the United States, the EB-5 Program and its administration. An Investor who purchases Units with the
    intention of obtaining a conditional and permanent green card is encouraged, along with his or her
    advisors, to make his or her own independent review of the EB-5 Program and the various immigration
    risk factors relating to the process in obtaining a conditional and permanent residency status to determine
    if an investment in the Units is a suitable approach for him/her.

    THE PARTNERSHIP MAKES NO REPRESENTATION OR WARRANTY OF ANY KIND CONCERNING
    WHETHER AN INVESTMENT IN THE PARTNERSHIP WILL MEET THE REQUIREMENTS OF THE EB-
    5 PROGRAM OR OTHER U.S. IMMIGRATION REQUIREMENTS. NO ASSURANCES CAN BE GIVEN
    THAT AN INVESTMENT IN THE PARTNERSHIP WILL RESULT IN AN IMMIGRANT INVESTOR
    RECEIVING AN EB-5 VISA OR CONDITIONAL OR PERMANENT RESIDENT STATUS.



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    RISKS RELATED TO THE EB-5 PROGRAM

    General Immigration Risks
    Congress and/or USCIS may change the law, regulations, or interpretations of the law, including the EB-5
    Program, without notice and in a manner that may be detrimental to an Investor and/or the Partnership.
    Investors who obtain conditional or permanent residence status must intend to make the United States
    their primary residence. Permanent residents who continue to live abroad risk revocation of their
    conditional or permanent residence status. The process of obtaining conditional and permanent resident
    status involves numerous factors and circumstances that are not within the control of the Partnership.
    These include an Immigrant Investor's history and quotas established by the United States government
    limiting the number of immigrant visas available to qualified individuals seeking conditional or permanent
    resident status under the EB-5 Program.

    Job Allocation Among EB-5 Foreign Investors
    The Partnership shall take such action to meet the objective of allocating to each Investor a minimum
    number of ten (10) direct and/or indirect and/or induced full-time equivalent positions for qualifying
    employees created by the Project due to the Partnership’s investment in the Project on the following
    basis: The assignment of full-time equivalent positions for qualifying employees created by the Project
    shall be allocated to members of the Partnership based on the sequential order of the date that each
    member entered the United States on an EB-5 Visa.

    Use of Immigration Attorney and Processing Time
    The filing of an I-526 Petition by an Investor with the USCIS should be done by a qualified U.S.
    immigration attorney. As of the date of this document, the USCIS is taking approximately six months to
    approve (or deny) an I-526 Petition. It is impossible to predict USCIS processing times. Once approved,
    the case will be forwarded to the U.S. State Department’s National Visa Center and then to a U.S.
    Consulate selected by the Investor for processing or, if the Investor is already in the U.S., the Investor
    may adjust his or her status to that of conditional permanent resident. It may, however, take an additional
    six months or longer for a U.S. Consulate to process the I-526 Petition, or for the USCIS to adjust an
    Investor’s status, and issue a conditional green card. Investors should not physically move to the United
    States until their visa has been issued.

    Management estimates that the Project will create a sufficient number of direct jobs. Each Investor in the
    Partnership who will petition for permanent residency in the U.S. under the EB-5 Program must
    demonstrate that the Project created at least 10 direct jobs in order to qualify for permanent residency
    status under the EB-5 Program.

    There is no assurance that the assumptions upon which the job creation totals are based are accurate or
    that the actual number of direct employees will be close to the number predicted. Depending upon the
    disparity there may be insufficient employment to remove conditional visa status, resulting in a delay or
    denial of permanent residency for any Investor.

    Proving Lawful Source of Funds
    As part of the I-526 Petition, an Investor must present to the USCIS clear documentary evidence of the
    source of the funds invested and that the funds belong to the Investor. Generally, the Investor can satisfy
    the source of funds requirements by submitting documents showing that he or she has a level of income
    from legal sources that would yield sufficient funds for the investment. The USCIS generally requires
    copies of income tax returns to satisfy the source of funds requirement. For Investors who do not have
    such records, there may be other records that can be provided to the USCIS by an Investor to
    demonstrate that the investment funds came from legal sources. All such matters regarding the Investor’s
    I-526 Petition should be discussed with his or her immigration counsel.
    	  




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    Policymaking Position
    The EB-5 Program requires an Investor to hold a policymaking or management position within the
    Partnership. The Partnership believes that each Investor, as a limited partner of the Partnership, is
    provided with the powers and duties under the Partnership Agreement sufficient to meet the USCIS
    requirement that an Immigrant Investor is actively participating in policymaking or management of a new
    commercial enterprise.

    Chinese Governmental Action.
    The government of the People’s Republic of China (“PRC”) (the expected home country source of
    Investors) may restrict or suspend entirely participation by its nationals in the EB-5 Program as violative
    of (a) the PRC’s Securities Laws, (b) the PRC’s foreign exchange controls, and/or (c) the current
    prohibition on Chinese nationals investing overseas in an individual capacity, rather than through
    enterprises. Moreover, the PRC may promulgate new laws or regulations in the future that restrict or
    prohibit participation in the EB-5 Program. Finally, the PRC has not approved this private placement;
    although in the past it has been assumed that a lack of action on particular offerings by the PRC is
    tantamount to their tacit approval, in the future, it cannot be assured that the PRC will not restrict or
    prohibit foreign private placements in general or the Offering in particular. Similar political risks apply to
    any other country from which a prospective Investor who seeks to transfer funds is a citizen, lawful
    permanent resident, or is otherwise domiciled.

    Targeted Employment Area Designation.
    The Partnership believes that the Project is located in a “TEA.” The Partnership bases this belief on the
    TEA Designation Memorandum, attached hereto. While USCIS may rely on the TEA Designation
    Memorandum, USCIS may also choose to defer to state governmental authorities for an ultimate decision
    on whether the Project is located in a TEA. In such an event, the Partnership believes that the state would
    consider the Project to be in a TEA based on the evidence supported by the TEA Designation
    Memorandum, but that is not certain. Moreover, even if USCIS determines that the Project is currently
    located in a TEA, demographic shifts could cause the loss of TEA status to the census tract where the
    Project is located. If the Project is not in a TEA, then Investors in Interests seeking a green card pursuant
    to the Pilot Program would have to invest a minimum of one million dollars ($1,000,000). Therefore, if the
    census tract’s “TEA” status is lost, it could become difficult or impossible for the Partnership to raise
    additional funds from EB-5 Investors. If the Partnership is unable to raise sufficient funds, the risk factor
    “Risks Due to Failure to Raise Adequate Capital” will also apply.

    At-Risk Investment
    An Investor’s investment must be at risk to qualify for the EB-5 Program. As part of the green card
    application, an Investor must show evidence that he or she has placed the required amount of capital at
    risk for the purpose of generating a return on the capital placed at risk. The Partnership believes that an
    investment in the Units will place an Investor’s investment in the Partnership at risk because there is no
    assurance that the business of the Partnership will be able to return any Investor’s investments in the
    Units at any time, or ever. Purchase of a Unit does not guarantee conditional or permanent residency in
    the United States. Furthermore, no assurance can be given that conditions to residency under the EB-5
    Program will be removed.

    THE PARTNERSHIP MAKES NO REPRESENTATION OR WARRANTY OF ANY KIND CONCERNING
    WHETHER AN INVESTMENT IN THE PARTNERSHIP WILL MEET THE REQUIREMENTS OF THE EB-
    5 PROGRAM OR OTHER U.S. IMMIGRATION REQUIREMENTS. NO ASSURANCES CAN BE GIVEN
    THAT AN INVESTMENT IN THE PARTNERSHIP WILL RESULT IN ANY INVESTOR RECEIVING A VISA
    OR CONDITIONAL OR PERMANENT RESIDENT STATUS.

    Timing of investment
    The EB-5 program procedures requires an investor to first make a qualifying investment, and then file a
    Form I-526 petition (and supporting documents) with USCIS. The applicant must thus be prepared for
    situations where—if the application is denied—he or she would have incurred irrecoverable expenses on


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    foreign exchange transfer and then getting the investment returned. The investor might also have
    disposed of some valuable asset to arrange liquid funds in the first place and would be required to look
    for new investment assets. The investor should factor in expenses and costs and losses that he or she
    might incur while going through sale and purchase of assets. From the time that the investor makes the
    investments and time he or she receives the money back, the investor will need to factor in the lost
    interest in the process.
    	  

                                            OTHER RISK FACTORS

    RISKS RELATED TO OUR BUSINESS AND INDUSTRY

    General Economic Conditions
    The investment strategy of the Partnership is based in large part upon the success and results of the
    markets in general. Changes in the general economic conditions (including economic downturns),
    securities markets, and changes in tax codes and other governmental regulations may affect the value of
    the Partnership’s investments.

    Operating History
    Palm House Hotel, LLLP has no operating history. As a result, we have no operating history to aid in
    assessing our future prospects. We will encounter risks and difficulties as an early-stage Partnership in a
    rapidly evolving, and often volatile, investment market. We may not be able to successfully address these
    risks and difficulties, which could materially harm our business and operating results.

    The Partnership is a new business with no operating history upon which Investors may base an
    evaluation of its potential future performance. As a result, there can be no assurance that it will be able to
    develop consistent revenue sources, or that its operations will become profitable even if it is able to
    allocate the funds raised in this Offering in accordance with its business plan. The Partnership and its
    prospects must be considered in light of the risks, expenses and difficulties frequently encountered by
    entities in an early stage of development. Such risks include, but are not limited to, an evolving business
    model, developing the business plan and the management of its growth, property acquisition and
    development, the successful operating and maintaining of a commercial real estate Project. The
    Partnership must, among other things, locate investment assets, purchase investment assets at
    reasonable values, develop investment assets on a profitable basis, respond to economic and market
    variables outside the control of the Partnership, conduct adequate due diligence, respond to competitive
    developments and continue to attract, retain and motivate qualified employees and operate and maintain
    its facilities. There can be no assurance that the Partnership will be successful in meeting these
    challenges and addressing such risks and the failure to do so could have a materially adverse effect on
    the Partnership’s business, results of operations and financial condition.

    Management of Growth
    The Project will experience growth in its operations, which will place significant demands on our
    management, operational, and financial infrastructure. If the Partnership does not effectively manage
    growth, the quality of services could suffer, which could negatively affect the Project and its operating
    results. To effectively manage growth, the Partnership will need to continue to improve its operational,
    financial and management controls and its reporting systems and procedures. These systems
    enhancements and improvements may require significant capital expenditures and management
    resources. Failure to implement these improvements could hurt the Project’s ability to manage growth and
    its financial condition.

    Competition
    The Partnership will compete for investments with numerous other investments, many of which have
    substantially greater financial resources, research and marketing capabilities, operating histories and



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    greater name recognition than does the Partnership.

    Construction Risks
    The Project may involve construction and/or renovation of existing buildings. Construction and renovation
    costs may exceed projected levels; similarly, the time for construction and renovation may exceed
    projections. Such cost overruns or delays may imperil the timing and profitability of the project. Further,
    necessary permits may take longer than anticipated to acquire, or may be denied entirely. For existing
    units, the condition of those units may be worse than expected, the units may contain asbestos, or they
    may require extensive work or even demolition and reconstruction.

    Natural Disasters; Weather
    Construction, development, leasing, or operation may be delayed, prevented, or adversely affected by
    inclement weather or other acts of God. Florida is located in an area at high risk for hurricanes and other
    natural disasters and natural disaster-related damage. Buildings, fixtures, and other Project assets may
    be damaged or destroyed by natural disasters.

    Government Regulation Risks
    The hospitality industry is regulated by both state and federal governments. Adverse changes in
    government regulations, taxes, or incentive programs could impact the feasibility, profitability, or even the
    legality of the project.

    Hospitality Industry Risks
    The business operations of the Borrower involve the operations of a luxury hotel facility, including high-
    end ancillary services. The profitability of such an enterprise is dependent upon the tourism market in the
    area, as well as the general economy and consumer spending patterns. Furthermore, the ultimate
    profitability of the project may be influenced by the South Florida real estate market, which may be
    volatile. These macroeconomic factors are outside of Management’s control.

    RISKS RELATED TO MANAGEMENT

    Reliance on Management
    The General Partner has sole responsibility and authority for all decisions in connection with the
    management of and investments made by the Partnership. Limited Partners will have a limited right to
    participate in the management of the Partnership. The capital required by the Partnership to commence
    operations and carry on its business is being sought entirely from the proceeds of the Offering.

    The Partnership’s success is highly dependent on the experience and industry knowledge of the
    management team, which members have limited experience in the operation of a Project of this
    type or with the EB-5 program.

    The General Partner was only recently formed and has no operational history to date. The Partnership is
    dependent entirely on the efforts of the management team of the General Partner for strategic business
    direction. The principals of the General Partner have limited experience in managing a Project of this
    type, and as a result, their ability to be effective managers, or otherwise operate the business in a manner
    that maximizes profitability for the Partnership is questionable. None of the Investors will have the right to
    vote on or approve any of the investments or business decisions to be made by the Partnership.
    Prospective Investors who are unwilling to delegate sole discretion to the General Partner in this manner
    should not invest in the Partnership.

    Because the General Partner will have sole discretion in structuring the Partnership’s business model, the
    risk profile and exposure of this Partnership will ultimately be determined by the General Partner. The
    Partnership’s success depends on the General Partner’s ability to execute its business model and plan.




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    The General Partner, and consequently the Partnership, is currently dependent on the continued service
    and active advisory efforts of the principals of the General Partner (see “Management Team”). If any of
    their services with the General Partner were to cease or lapse for any reason, the Partnership may be
    adversely affected if such services were not otherwise provided by Persons of equal or greater talent or
    experience.

    Potential Conflicts of Interest
    Certain conflicts of interest may arise from the fact that the Managers of the General Partner will continue
    to be involved in business pursuits which require their time, attention and energies and which may conflict
    with the business of the Partnership. The Managers of the General Partner may also act in management
    and advisory capacities for other entities. Therefore, conflicts of interest may arise in the allocation of their
    time to the management and administration of the Partnership and such other entities.

    RISKS RELATED TO THIS OFFERING

    No Assurance of Liquidity; Restrictions on Transfer
    There is currently no market for the Units, and a market in the Units is not expected to develop in the
    future. The Units are not redeemable and cannot be assigned; transferred; pledged; encumbered or
    otherwise disposed of without the consent of the General Partner and in compliance with applicable
    provisions of the Partnership Agreement and applicable securities laws. As a result, purchasers must bear
    the economic risk of their investments for the life of the Partnership. A purchase of Units should be
    considered only by sophisticated and accredited Investors financially able to maintain their investment
    and who can afford to lose all or a substantial part of their investment.

    Transferability of the Units is restricted and Investors will not be able to liquidate their investment in the
    event of an emergency. Additionally, the Units may not be readily acceptable as collateral for loans (to the
    extent permitted by the Partnership Agreement). Accordingly, purchase of the Units must be considered a
    long-term, illiquid investment.

    Private Offering Exemption
    The Units are being offered in reliance upon a non-public offering exemption provided under the Act,
    Regulation D promulgated thereunder. The Partnership has used its best efforts to assure compliance
    with the requirements of these various registration and qualification exemptions. Since compliance with
    the securities statutes is highly technical and often difficult, there is no assurance that a court reviewing
    the facts and circumstances of the Offering might not determine later that one or more of the applicable
    exemption provisions was not properly complied with. Should it be determined that the Partnership failed
    to comply with the requirements of the Act or any applicable exemption and a sufficient number of
    Investors were to seek rescission, the Partnership could face financial demands which could adversely
    affect its ability to continue to conduct business which, in turn, could result in adverse consequences to
    both rescinding and non-rescinding Investors.

    Liability and Indemnification of the General Partner
    The General Partner is in a fiduciary relationship with the Limited Partners of the Partnership. As such,
    the General Partner is required to exercise good faith and integrity in their conduct of the Partnership’s
    affairs. However, their responsibility is limited by provisions of the Subscription Agreement and
    Partnership Agreement which exculpate the General Partner and their affiliates from liability to the
    Partnership where the General Partner act (or fail to act) not in violation of the Subscription Agreement
    and Partnership Agreement and without gross negligence, fraud or willful violation of law. As a result, a
    Limited Partner may have a more limited right of action than it would have had in the absence of such
    provisions. The Subscription Agreement and Partnership Agreement also provides that the Partnership
    will indemnify the General Partner and their respective affiliates from any liability or loss suffered by virtue
    of the General Partner acting in such capacity, except in the case of violation of the Subscription
    Agreement and Partnership Agreement or of gross negligence, fraud or willful violation of law.




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    Projections; Forward Looking Information
    Management has prepared projections regarding Palm House Hotel, LLLP’s anticipated financial
    performance. The Partnership’s projections are hypothetical. Financial projections concerning the
    estimated operating results of the Partnership have been prepared by the Partnership’s management.
    These projections may be based on certain assumptions which may prove to be inaccurate and which are
    subject to future conditions that may be beyond the control of the Partnership, such as the general
    industry conditions. The Partnership may experience unanticipated costs or lower revenues than
    forecasted. There is no assurance that the results which may be illustrated in financial projections would
    in fact be realized by the Partnership. The financial projections have been prepared by management of
    the Partnership in consultation with experts in the field and the Partnership’s independent certified public
    accountants. However, since the financial projections are based upon numerous assumptions, which may
    or may not prove to be true, neither the independent experts or the independent certified public
    accountants or counsel to the Partnership can provide any level of assurance with respect to them.

    Many of these risks are described elsewhere herein. For all of the foregoing reasons, actual results may
    vary materially from the Forward Looking Statements and there is no assurance that the assumptions
    used are necessarily the most likely. Additionally, when used in this memorandum, the words “believes,”
    “anticipates,” “intends,” “expects,” “plans,” as well as similar words are intended to identify forward-looking
    statements. All such statements are based on the Partnership’s expectations and are subject to a number
    of risks and uncertainties, many of which are beyond the Partnership’s control. In light of these risks and
    uncertainties, there can be no assurance that the forward-looking statements contained herein will in fact
    occur. The Partnership does not undertake any obligation to publicly release the results of any revisions
    to these forward-looking statements that may be made to reflect any future events or circumstances.

    Risks Due to Failure to Raise Adequate Capital
    Management intends to close this Offering with the requisite number of investors to achieve the full
    offering amount. However, this can not be guaranteed. A failure to secure full funding could endanger the
    success of the Project. Failure of the Partnership to raise the full offering amount could negatively impact
    the Project Company’s ability to finance and develop the Project. If the Partnership fails to raise the full
    offering amount and is therefore unable to loan such amount to the Project Developer, to secure the
    balance of any funds required for the Project, the Project Developer will be required to seek a larger than
    expected amount from alternative capital sources, including institutional investors and non EB-5
    investors, among others. Furthermore, it is possible that the Project Developer will fail to raise the
    additional capital, or that, even if the Partnership succeeds in raising the full offering amount and loans
    such amount to the Project Developer, such proceeds, plus any additional capital raised, will be
    inadequate to satisfy all capital requirements, or that such financing may be untimely procured, requiring
    the Project Developer to obtain alternative financing, including short- and long-term debt financing, or
    equity financing, in addition to the Partnership’s loan to the Project Developer. The terms of such
    alternative financing may be better or worse for the Project Developer than the terms of the loan from the
    Partnership, and may result in subsequent investors in the Project Developer having superior rights to
    those of the Partnership.




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                                      Summary of Loan Terms

    Purpose. Prior to the closing of the first Unit offered hereunder, the Partnership will enter into a Loan
    Agreement (the "Loan") with Borrower. The proceeds of the Loan will be used to partially finance the
    acquisition, development and operation by Borrower of the Project.

    Amount. The Loan amount will be up to $39,500,000, depending upon the number of Units sold in this
    Offering. Whether or not the maximum Loan amount is advanced, the Borrower may seek alternative and
    additional financing.

    Term; Repayment. The balance of all Advances and all accrued unpaid interest on the Loan shall be
    repaid as follows. Upon and after the First Advance hereunder, Borrower shall make payments of interest
    only on the outstanding principal balance of all Advances at the rate per annum of 0.25% until expiration
    of 5 years from the First Advance (the "Initial Term"). Upon the expiration of the Initial Term, the
    outstanding principal balance of all Advances and all accrued interest then outstanding shall be due.
    Borrower shall make commercially reasonable efforts to repay the outstanding principal balance of all
    Advances and all accrued unpaid interest thereon after the expiration of the Initial Term. If Borrower
    cannot refinance such amounts on commercially reasonable terms prior to the end of the Initial Term,
    Borrower may extend the term of this Note for one or more additional five year periods (each an
    "Extension Period"), provided Borrower is not in default. During each Extension Period (a) the interest
    rate shall remain at 0.25%, and (b) Borrower shall make principal and interest payments on the
    outstanding principal balance of all Advances and all accrued unpaid interest thereon then outstanding,
    calculated by amortizing the outstanding balance thereof over 15 years at the rate of interest set forth
    below. Interest shall be computed on the basis of a 365 day year and actual days elapsed. Upon default
    or after judgment has been rendered on this Note, the unpaid principal of all Advances shall bear interest
    at a rate which is two (2%) percent per annum greater than that which would otherwise be applicable.

    The Borrower may not, without the Partnership's prior express written consent, prepay the Note prior to
    the expiration of five years from the First Advance. Thereafter, Borrower may prepay this Note, in whole
    or in part, at any time, without penalty or premium, and without prior written consent of the Partnership.

    Disbursement. Disbursements of Loan proceeds will be made to Borrower from time to time upon
    approval of Investor I-526 Petitions and in accordance with the Escrow Agreement. It shall be a condition
    of each advance that as of such time there shall not have been a material adverse change in the
    operations, assets or financial condition of the Borrower and its subsidiaries, taken as a whole.

    Promissory Note and Loan Collateral. The Borrower will issue a Promissory Note with full recourse to
    the Borrower. The Loan may be secured by a lien on collateral of Borrower.

    Senior Debt. Borrower may incur other debt and in connection therewith, grant security interests senior
    to those granted to the Partnership under the Loan Agreement.

    Loan Documents. The Partnership has issued a Commitment Letter to Borrower, a copy of which is
    available upon request. The Promissory Note and Loan and Security Agreement to be executed by each
    Borrower are available for review upon request.




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                       Summary of Limited Partnership Agreement

    The rights and obligations of the Partners of the Partnership will be governed by the Limited Partnership
    Agreement ("LP Agreement"), attached to this Offering Memorandum. It is recommended that each
    prospective investor read the entire LP Agreement. The following is a brief summary of some of the
    provisions of the LP Agreement. The summary below and all statements made elsewhere in this Offering
    Memorandum relating to the LP Agreement are qualified in their entirety by reference to the LP
    Agreement.




    PURPOSES (ARTICLE 1, LP AGREEMENT)
    The purposes of the Partnership shall be to engage in any lawful acts or activities for which limited liability
    companies may be formed under the Act, including for the purpose of investing in Qualifying Investments
    under the EB-5 Pilot Program.

    CAPITAL CONTRIBUTIONS (ARTICLE 2, LP AGREEMENT)
    Each Limited Partner's capital contribution must be paid at the time such Limited Partner subscribes to
    purchase Units in this Offering and shall be paid in USD cash. Each Investor's Capital Contribution will be
    credited to his/her Capital Account. Terms governing the maintenance of Capital Accounts are set forth in
    the LP Agreement. An EB-5 Limited Partner shall be conditionally accepted to the Partnership upon
    receipt by the Partnership of his/her Capital Contribution and the Administrative Fee. The Capital
    Contribution shall be released from escrow and delivered to the Partnership upon the USCIS approval of
    the I-526 Petition for such conditionally accepted EB-5 Limited Partner, in accordance with the Escrow
    Agreement. Upon release of the Capital Contribution to the Partnership, an EB-5 Limited Partner shall be
    admitted to the Partnership.

    ALLOCATION OF PROFITS AND LOSSES (ARTICLE 3, LP AGREEMENT)
    Profits and Losses for each fiscal year shall be allocated as follows: (a) first, to the Partners in
    accordance with their Adjusted Capital Contributions, payable in proportion to the unpaid amounts
    thereof; and (b) the balance, to the Partners in accordance with the Percentage Interests.

    DISTRIBUTIONS (ARTICLE 3, LP AGREEMENT)
    Available Cash Flow, if any, shall be distributed annually as follows: (a) to Partners in payment of
    Mandatory Distributions (See Section 3.6 of the LP Agreement); (b) then to EB-5 Limited Partners pro
    rata in accordance with each EB-5 Limited Partner's Adjusted Capital Contribution in an amount up to
    each EB-5 Limited Partner's Preferred Return, less amounts due to the Partnership; (c) then to EB-5
    Limited Partners pro rata in accordance with each EB-5 Limited Partner's Adjusted Capital Contribution in
    an amount up to each EB-5 Limited Partner's Adjusted Capital Contribution; (d) then to Partners pro rata
    in accordance with each Partner's Adjusted Capital Contribution in an amount up to each Partner's
    Adjusted Capital Contribution; and (e) then to Partners in accordance with their Percentage Interests in
    the Partnership.

    The rules and regulations governing the Pilot Program prohibit the return of an EB-5 investor's investment
    prior to the approval of the Investor’s I-829. Accordingly, the Partnership shall not make distributions to
    EB-5 Limited Partners, other than distributions from Available Cash Flow in amounts not exceeding their



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    respective EB-5 Minimum Capital Requirement prior to that time. After such date the foregoing restriction
    shall no longer apply.

    MANAGEMENT (ARTICLE 4, LP AGREEMENT)
    the Partnership operates under the direction of a General Partner. The General Partner has full and
    complete authority, power and discretion to manage and control the business and affairs, including the
    management and operation of the Partnership, to make all decisions regarding the business and affairs of
    the Partnership, in its sole discretion, and to perform any and all other acts incident to or customary for
    the business. Limited Partners have limited rights to take part in the management of, or to bind, the
    Partnership.

    TAX WITHHOLDING (ARTICLE 4, LP AGREEMENT)
    The General Partner is authorized to withhold any sums required by the Internal Revenue Code even if
    such withholding conflicts with any of the terms and conditions of this Agreement or otherwise affects
    distributions, allocations or payments to the Partners. In the event that the General Partner learns of a
    withholding obligation subsequent to the distribution to which the withholding obligation relates, the
    General Partner will issue an invoice to the Partner. If the invoice is not paid within sixty (60) days, the
    General Partner will charge the amount against the Partner's Capital Account.

    INDEMNIFICATION (ARTICLE 5, LP AGREEMENT)
    The Partnership may indemnify any person who was or is a party or is threatened to be made a party to
    any threatened, pending or completed action, suit or proceeding, whether civil, criminal, administrative, or
    investigative, including all appeals (other than an action, suit or proceeding by or in the right of the
    Partnership) by reason of the fact that he is or was a partner, officer or employee of the Partnership, or is
    or was serving at the request of the Partnership as a Partner, trustee, officer or employee of another
    company, partnership, joint venture, trust or other enterprise, against expenses, judgments, decrees,
    fines, penalties and amounts paid in settlement actually and reasonably incurred by him in connection
    with such action, suit or proceeding if he acted in good faith and in a manner which he reasonably
    believed to be in or not opposed to the best interests of the Partnership and, with respect to any criminal
    action or proceeding, had no reasonable cause to believe his conduct was unlawful. Expenses of each
    person indemnified may be paid by the Partnership in advance of the final disposition of such action, suit
    or proceeding as authorized by the General Partner upon receipt of an undertaking to repay such amount
    unless it shall ultimately be determined that he is entitled to be indemnified by the Partnership.

    VOTING (ARTICLE 7, LP AGREEMENT)
    On any matter presented to the Partners for their vote, each Limited Partner shall have one vote for each
    Unit owned by him. The following actions shall require the approval of Limited Partners holding a majority
    of the then outstanding Units: (i) any modification to this LP Agreement materially changing the rights of
    the Limited

    Partners; and (ii) dissolution of the Partnership prior to the end of the fifth year after admission of the last
    EB-5 Limited Partner.

    TRANSFER RESTRICTIONS (ARTICLE 8, LP AGREEMENT).
    No EB-5 Limited Partner may voluntarily transfer any interest or rights in his/her Units without consent of
    the General Partner. Additional restrictions on transfer of Units are described in the LP Agreement. No
    Limited Partner shall have the right or power to Voluntarily Withdraw from the Partnership. If any Partner
    intends to transfer his or her Units or any part thereof to any person or entity, after obtaining required


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    approval, such Partner shall give written notice to the Partnership of his intention so to transfer.
    Thereupon, the Partnership, then the General Partners, then the Limited Partners shall have an option to
    purchase such Units at Fair Market Value (as defined in the LP Agreement).

    TERMINATION OF INTEREST (ARTICLE 9, LP AGREEMENT)
    The Partnership Interest of each EB-5 Limited Partner shall be terminated by (a) dissolution of the
    Partnership as provided in the LP Agreement and distribution of the proceeds of liquidation to EB-5
    Limited Partners in accordance herewith; (b) the Agreement of an EB-5 Limited Partner, or his/her
    personal representative, and the General Partner; (c) the return of the Capital Contributions and payment
    of all accrued Preferred Returns to such EB-5 Limited Partner.

    DISSOLUTION AND TERMINATION (ARTICLE 10, LP AGREEMENT).
    The Partnership shall be terminated and dissolved upon the first to occur of the following: If the
    Partnership then has any EB-5 Partners (a) upon vote of a Majority-In-Interest of the Partners; or (b) upon
    the sale of all or substantially all the assets of the Partnership; and if there are then no EB-5 Partners of
    the Partnership (a) upon vote of the General Partner, or (b) upon sale of all or substantially all of the
    assets of the Partnership.



    INCOME TAX CONSIDERATIONS
    Each Investor is responsible for obtaining his or her own tax advice with respect to the federal, state and
    local income and other possible tax consequences of his/her investment in the Partnership, and no tax
    advice will be provided hereunder or at any time in the future. However, as a general rule, a resident alien
    of the United States will be taxed on all of his or her worldwide income and will be required to file a United
    States income tax return. In addition, if an alien is not a resident of the United States but has United
    States source income he or she generally will be subject to taxation in the United States on such income,
    and such income may be subject to withholding and/or reporting on a United States income tax return. All
    Investors in this Offering should seek professional tax advice prior to investing in this Offering.



    SUBSCRIPTION PROCEDURE AND PLAN OF DISTRIBUTION

    SUBSCRIPTION PROCEDURE
    To subscribe to purchase Units in this Offering, a subscriber must transmit the following to the Partnership
    prior to the termination of this Offering, as follows:

    1.      Subscriptions Funds for Units ($500,000 per Unit subscribed for) shall be paid by a wire transfer
    to the Partnership Escrow Account established by each subscriber of Units with the Partnership according
    to the wire instructions provided by the Partnership.

    2.      Administrative Fees ($40,000 per Investor) shall be paid by wire transfer to the Partnership
    according to the wire instructions provided by the Partnership.

    3.       Executed counterpart signature page to the Partnership EB-5 Escrow Agreement (attached
    hereto);

    4.      Executed counterpart signature page to the LP Agreement (attached hereto);



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    5.      Executed complete Subscription Agreement (attached hereto);

    6.      Executed and complete Investor Questionnaire.

    The subscription period will begin on the date of this Offering Memorandum and will continue until the
    Offering is sold or the Offering is terminated by the Partnership.

    All subscription proceeds received from subscribers for Units shall be deposited in the Partnership
    Escrow Account established for subscription funds pending filing of subscriber I-526 Petitions. Upon
    notice of approval of each subscriber's I-526 Petition, his/her subscription funds will be transferred to the
    Partnership and advanced to Borrower as part of the Loan. A subscriber of Units shall have no right to
    revoke or withdraw his/her subscription after filing of his/her I-526 Petition.

    If a subscriber's I-526 Petition is denied by USCIS for reasons within the control of the Partnership, then
    subscriber's subscription proceeds shall be returned to subscriber without interest or deduction. If a
    subscriber's I-526 Petition is denied by USCIS for reasons beyond the control of the Partnership or due to
    subscriber providing false or misleading information to USCIS or the Partnership, then subscriber's
    subscription proceeds shall not be returned to subscriber but shall remain committed to the Project in
    accordance with this Offering. In such case, subscriber will be admitted as a Limited Partner of the
    Partnership and will be issued Units subject to the terms of the LP Agreement as if his/her I-526 Petition
    was approved. All interest accrued on funds deposited in the Partnership Escrow Account belong to the
    Partnership.

    PLAN OF DISTRIBUTION
    The Units will be offered to prospective investors by the Partnership, and/or its duly authorized agents.
    Fees and commissions of such agents may be paid by the Partnership from Administrative Fees.
    Prospective investors are limited to qualified non-U.S. citizens seeking permanent residence in the United
    States through the EB-5 Program who are Accredited Investors (as defined in the Act). The Units are
    offered subject to the Partnership's rights to withdraw the Offering at any time without notice and/or to
    reject any subscription. This Offering may be terminated if events have occurred, which in the General
    Partner's sole judgment, make it impracticable or inadvisable to proceed with, continue or consummate
    the Offering described herein. There is no assurance that all or any of the Units will be sold. If the Offering
    is terminated the Partnership Escrow Agreement provides for the prompt return to the investors of their
    subscription funds, without interest. Administrative Fees are not refundable for any reason.




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                             Availability of Additional Information
    EACH PROSPECTIVE INVESTOR WILL BE GIVEN AN OPPORTUNITY TO ASK QUESTIONS OF AND
    RECEIVE ANSWERS FROM MANAGEMENT OF THE PARTNERSHIP CONCERNING THE TERMS
    AND CONDITIONS OF THIS OFFERING AND TO OBTAIN ANY ADDITIONAL INFORMATION, TO THE
    EXTENT THE PARTNERSHIP POSSESSES SUCH INFORMATION OR CAN ACQUIRE IT WITHOUT
    UNREASONABLE EFFORTS OR EXPENSE, NECESSARY TO VERIFY THE ACCURACY OF THE
    INFORMATION CONTAINED IN THIS MEMORANDUM. IF YOU HAVE ANY QUESTIONS
    WHATSOEVER REGARDING THIS OFFERING, OR DESIRE ANY ADDITIONAL INFORMATION OR
    DOCUMENTS TO VERIFY OR SUPPLEMENT THE INFORMATION CONTAINED IN THIS
    MEMORANDUM, PLEASE WRITE OR CALL THE PARTNERSHIP.




                                        Palm House Hotel, LLLP

                                    197 S. Federal Highway, Suite 200
                                         Boca Raton, FL 33432
                                       Telephone: (561) 282-6102




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                                    SECTION II




                                Business Plan Summary
           	  
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    EXECUTIVE SUMMARY

    THE PROJECT OVERVIEW
    The Borrower, Palm House, LLC, intends to secure a Loan from the Limited Partnership, using such
    funding to serve as Developer for the job-creating enterprise known as the Hotel Project. To that end, the
    Limited Partnership is soliciting investors under the EB-5 Immigrant Investor Program (EB-5 Program),
    which grants lawful conditional and permanent resident status in the United States to foreign investors
    who make qualifying investments (Qualifying Investments) under the provisions of 8 U.S.C. 1153 (b) (5)
    (A) (i)-(iii), (C) (the “Act”). In order to take advantage of the EB-5 Program, foreign investors must invest in
    the Limited Partnership and complete the required immigration procedures. All Qualifying Investments
    must be invested in projects structured to create at least 10 full time direct jobs for qualified U.S. workers,
    as set forth in the EB-5 Program.
    	  

    PROJECT SUMMARY
    The Project developer seeks financing to operate a business involving the renovation and development of
    a high-end resort hotel.

    The Project developer will focus on extensively renovating and refurbishing an existing hotel structure on
    the island of Palm Beach in South Florida. The hotel will be remodeled as a 79-room, high-end resort
    hotel offering ancillary services (such as food and beverage, spa, salon, membership club, etc.).

    Of course, the EB-5 program’s primary focus is job creation. Palm House Hotel, LLLP is excited to be an
    important factor in investing in the creation of new jobs. The project described herein will provide a
    beneficial impact to the community, provide jobs, and provide a boost to the local and national
    economies.
    	  

    EMPLOYMENT
    The economic analysis conducted, using the latest USCIS-approved complex software programs and
    diagnostic models available (RIMS II), justifies the feasibility of the project by proving the economic
    benefits of the Hotel Project to all areas of the local economy and confirms that the Hotel Project not only
    meets but exceeds the United States employment generation requirements of the USCIS:	  

                                           Table	  A.	  	  Summary	  of	  Employment	  and	  Revenue	  Estimates	  
           Activity	                                                          Expenditure/Revenues	   Final	  Demand	                Total	  	  
                                                                                    ($	  million)	            Multiplier	             Jobs	  	  
           	  
           	  
           Hard	   Construction	  Costs	                             	                   32.297	   	         17.5636	   	                 567.2	  
           Soft	  Costs	                                                                    6.188	               16.315	                      101.0	  
           Purchases	  of	  FF&E	  *	                                                        2.5	              7.9957	                       20.0	  
           Hotel	  Operations	                                                              14.36	              17.5069	                      251.4	  
           Membership	  Fees	  *	                                                             2.0	               7.046	                       14.1	  

           	  
           Total	   	                                                 	                   75.413	   	                        	              953.7	  
                                                                                                        	  
                                                                        	                                                        	  
           *	  Indirect	  and	  Induced	  effects	  only	                                         	  
    	  




                                                                        	                                                        	  
                                                                                                        	  

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    Palm House Hotel, LLLP                                                                         Strictly Confidential




    The econometric analysis quantifying the Hotel Project benefits to the state and local economy is a
    project specific analysis validating the Hotel Project opportunity and is included with the business plan.




    FINANCES
                          Number	  of	  rooms	                                          79	  
                          Available	  room-­‐nights	                             	  28,835	  	  
                          Occupancy	  rate	                                           61.0%	  
                          Occupied	  room-­‐nights	                              	  17,589	  	  
                          Average	  Daily	  Rate	                              $522.50	  	  
                          RevPAR	                                                $318.73	  	  
                          Room	  Revenue	                                    $9,190,435	  	  
                          	                                           	  
                          Ancillary	  Revenue	  (F&B,	  etc.)	             $5,169,620	  	  
                          	                                           	  
                          Total	  Revenue	                                  $14,360,055	  	  
                          	                                           	  
                          Total	  Expenses	                                  $8,497,550	  
                          	                                           	  
                          EBITDA	                                             $5,862,505	  	  


    The above summation of the projected Year 2 (stabilized) income and expenses of the Hotel Project
    indicates that the Developer is well managed in the proper uses of cash flow to grow the concern through
    the judicious monitoring of variable and fixed costs resulting in profitability within a short time frame,
    allowing the Hotel Project to provide the projected return on investment to the investor/limited partner.
    Please see the full Business Plan and its attachments for the 5 year Pro Forma detail supporting the
    projections.

    The foreign investor can have confidence that the Hotel Project will create the necessary number of jobs
    and economic benefits to assure the foreign investor that their application for residence status is and will
    continue in good standing.

    The Hotel Project has the expertise and experience of Palm House, LLC’s management to further
    validate the high level of confidence that the goals and projections will be realized (please see the profiles
    in the Management section of the business plan).




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